Case 2:08-Cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 1 of 62 Page |D #:1

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Plaintiff, Pali-Palm Springs, LLC, (hereinafter “Pali Palm”), files this Complaint
against United National Insurance Company (hereinafter “United National”) for
declaratory relief pursuant to 28 U.S.C. § 2201, et seq., for breach of an insurance
contract between Pali Palm and United National, and for damages arising from United
National's failure to act fairly and in good faith in discharging its responsibilities under

Pali Palm's insurance policy, and states:

JURISDICTION AND VENUE

l. This Court has personal jurisdiction over United National, because United
National is an insurance company licensed and authorized to conduct business in
California and does in fact conduct systematic and continuous business in the State of
California, including, but not limited to, the issuance of the subject insurance policy to
Pali Palm in California.

2. The amount in controversy in this case exceeds, exclusive of interest and
costs, the sum of $75,000.00.

3. The jurisdiction of this Court over this action is based upon 28 U.S.C.
§ 2201, there being an actual controversy between the parties, and upon 28 U.S.C.
§ 1332(a)(l), there being complete diversity of citizenship between Pali Palm and
_ United National, and the requisite amount in controversy.

4. Venue properly lies within this Court pursuant to 28 U.S.C. § l39l(a).

PARTIES
5 . Pali Palm is a limited liability company organized and existing under the
laws of the State of California, with its principal place of business in California.
6. United National is a corporation organized and existing under the laws of

the State of Pennsylvania, with its principal place of business in Pennsylvania.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORN1A

NOTICE OF ASSIGNl\/[ENT TO UNITED STA'I'ES MAGISTRATE J`U'DGE FOR DISCOVERY

This case has been assigned to District Judge George ang and the assigned discovery
Magistrate Judge is Jeff`rey W. Iolmson.

The ease number on all documents filed with the Court should read as followsx

CVOB- 1231 GHK (JWJX)

Pu_rsuant to Genera] Order 05-07 of the United States District Court for the Central
District of California, the Magistrate ludge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate .Tudgc

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (if a removal action is
nied, a copy of this notice must be served on all piaintiffs),

Subsequent documents must be filed at the foltowing loeatlon:

[X] Westem Dlvision [__] Southem Division Eastom Division
312 N. Spring St., an. G'S 411 West Fourth St,, Rm. 1-053 3470 Twelfth St., an. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riversicla, CA 92501

Fallure to file at the proper marion will result in your documents being returned to you.

 

 

CV-'lB (03/06) NOTlCE OF ASS|GNMENT TO UNlTED STA'TES MAGlSTRATE JUDGE FOR DlSCOVERY

 

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FACTUAL BACKGROUND

7. United National issued to Pali Palm a Commercial Property Policy,
identified as Policy Number VB0000408-B, effective May 30, 2007 to November 30,
2007 (hereinafter “the Policy”).

8. The Policy obligates United National to pay for direct physical loss of or
damage to Covered Property at the premises described in the Declarations, which is
caused by or resulting from any Covered Cause of Loss. The Policy defines “Covered
Property” to include a “building” described in the Policy Declarations when a Limit of
Insurance is shown in the Declarations for that building. The term “Covered Cause of

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Loss” includes “fire, smoke” and “vandalism.” The term “vandalism” includes
“willful and malicious damage to, or destruction of, the described property.” Attached
hereto as Exhibit A, and incorporated herein by this reference, is a fair and correct copy
of the Policy.

9. On or about July 19, 2007, a fire ("Fire") caused severe damage to a
building owned by Pali Palm, and located at 261 S. Belardo Road, Palm Springs,
California 92262 (hereinafter "Building"). The Building is located in Riverside County,
California. This Building is a type of property described in the Policy definition of
Covered Property. The Building is also identified and described in the Policy
Declarations as Building 001. Exhibit A. A Limit of Insurance is shown in the Policy
Declarations for the Building. Id.

10. Pali Palm notified United National of the July 19, 2007 Fire and requested
that United National pay for the direct physical loss and damage to the Building.
Approximately three months later, by a letter dated October 17, 2007, United National
refused to pay for the loss and damage, claimed to be investigating the incident, and
purported to reserve its rights on two separate grounds Attached hereto as Exhibit B»,
and incorporated herein by this reference, is a fair and correct copy of United National's

October 17, 2007 letter.

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11. First, United National purported to reserve its rights based on an
unidentified “preliminary investigation” which indicated that the Fire had been set
intentionally. Exhibit B. United National did not identify any facts or Policy
provisions in support of this position. Ia’.

12. United National also claimed to reserve its rights based on Pali Palm's
alleged failure to report, under a previous policy, a fire that occurred on September 30,
2006. Exhibit B. Specifically, United National relies upon Policy conditions that
purport to negate coverage based on a failure to provide notice of damage to Covered
Property, and based on the intentional concealment or misrepresentation of a material
fact concerning Covered Property or a covered claim. Ia’.

13. Although United National has also raised an endorsement which purports
to condition coverage on the maintenance of certain protective safeguards, United
National has not made any contention that Pali Palm failed to maintain these protective

safeguards Exhibit B.

FIRST CLAIM FOR RELIEF
(DECLARATORY JUDGMENT)

14. The allegations set forth in paragraphs 1 through 13 are incorporated
herein by reference

15. The Building is Covered Property under the Policy, at a premises described
in the Policy Declarations The July 19, 2007 Fire is a Covered Cause of Loss which
occurred during the Policy's effective period and which caused direct physical loss of
and damage to the Building. Thus, the direct physical loss and damage to the Building
caused by and resulting from the Fire falls within the scope of the insuring agreement in
the Policy.

16. United National has not identified any Policy provision in support of its

reservation of rights based on the contention that the Fire was intentionally set. United

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National has not identified any facts or bases upon which United National's contention
that the Fire was intentionally set could be construed to extinguish coverage for Pali
Palm'S claims.

17. Moreover, United National has not inspected the Building in the more than
six months that have passed since the Fire. United National has delayed the district
attorney's investigation into the Fire by its failure to provide prosecutors with
documents the prosecutors requested Upon information and belief, this failure is
ongoing. Further, United National requested that Pali Palm submit to an examination
under oath two months ago, but United National has not responded to multiple requests
by Pali Palm to set a date for the examination §

18. Notably, at the time of the Fire, Pali Palm was taking active steps to
prevent damage to the Building, by fire or otherwise. Prior to the time of the Fire, Pali
Palm incurred significant expense to board up all windows and doors in the vacant
Building so as to protect the Building against damage. Pali Palm also hired a security
company to monitor the Building at night, and the Building was monitored by security
guards, at Pali Palm's expense, on the date of the Fire. In addition, Pali Palm
maintained the protective safeguards, identified in the Policy endorsement, at the
Building at the time of the July 19, 2007 Fire.

19. United National's purported reservation of rights on the basis that the fire
was intentionally set is without foundation, and is unreasonable

20. Neither the Policy nor any previous policy issued to Pali Palm by United
National requires that Pali Palm provide United National with notice of the September,
2006 fire, because the September, 2006 fire solely occurred at, and caused damage to, a
structure located at 262 S. Cahuilla Road. The structure located at 262 S. Cahuilla
Road is not Covered Property under the Policy or any previous policy issued to Pali
Palm by United National. Pali Palm has not concealed or misrepresented any material

fact concerning Covered Property, its interest in Covered Property, any claim under the

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Policy, or any coverage part of the Policy or a previous policy issued by United
National, by its failure to report the September, 2006 fire. United National has not
identified any facts to the contrary, and could have verified each of the above facts by
conducting a reasonable investigation in the more than six months since the Fire.

21. None of the provisions United National identified in its October 17 letter
extinguishes United National's contractual obligation to pay for the loss and damage to
the Building caused by and resulting from the Fire.

22. In breach of its contractual obligation, United National has failed and/or
refused, and continues to refi.ise, to pay for the loss and damage to the Building caused
by and resulting from the Fire. United National is contractually obligated to pay for the
loss and damage to the Building caused by and resulting from the Fire.

23. An actual and immediate controversy exists between Pali Palm and United
National with respect to United National’S duties and obligations under the Policy in
that Pali Palm contends, and United`National denies, that United National is obligated
to pay for the loss and damage to the Building caused by and resulting from the Fire.
There presently exists a bona fide, actual controversy between the parties. This dispute
concerns more than $75,000 in insurance coverage, exclusive of interest and costs. The
requested declaration further deals with a present, ascertained or ascertainable state of
facts or present controversy as to a state of facts. Accordingly, pursuant to 28 U.S.C.

§ 2201, Pali Palm asks this Court to declare the rights of the parties.

SECOND CLAIM FOR RELIEF
(BREACH OF WRITTEN CONTRACT)
24. The allegations set forth in paragraphs 1 through 23 are incorporated
herein by reference
25. The Building is Covered Property under the Policy, at a premises described
in the Policy Declarations The July 19, 2007 Fire is a Covered Cause of Loss which

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occurred during the Policy's effective period and which caused direct physical loss of
and damage to the Building. Thus, the direct physical loss and damage to the Building
caused by and resulting from the Fire falls within the scope of the insuring agreement in
the Policy.

26. United National has not identified any Policy provision in support of its
reservation of rights based on the contention that the Fire was intentionally set. United
National has not identified any facts or bases upon which United National's contention
that the Fire was intentionally set could be construed to extinguish coverage for Pali
Palm's claims.

27. Moreover, United National has not inspected the Building in the more than
six months that have passed since the Fire. United National has delayed the district
attorney's investigation into the Fire by its failure to provide prosecutors with
documents the prosecutors requested Upon information and belief, this failure is
ongoing. Further, United National requested that Pali Palm submit to an examination
under oath two months ago, but United National has not responded to multiple requests
by Pali Palm to set a date for the examination

28. Notably, at the time of the Fire, Pali Palm was taking active steps to
prevent damage to the Building, by fire or otherwise Prior to the time of the Fire, Pali
Palm incurred significant expense to board up all windows and doors in the Vacant
Building so as to protect the Building against damage Pali Palm also hired a security
company to monitor the Building at night, and the Building was monitored by security
guards, at Pali Palm's expense, on the date of the Fire. In addition, Pali Palm
maintained the protective safeguards, identified in the Policy endorsement, at the
Building at the time of the July 19, 2007 Fire.

29. United National's purported reservation of rights on the basis that the fire

was intentionally set is without foundation, and is unreasonable

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30. Neither the Policy nor any previous policy issued to Pali Palm by United
National requires that Pali Palm provide United National with notice of the September,
2006 fire, because the September, 2006 fire solely occurred at, and caused damage to, a
structure located at 262 S. Cahuilla Road. The structure located at 262 S. Cahuilla
Road is not Covered Property under the Policy or any previous policy issued to Pali
Palm by United National. Pali Palm has not concealed or misrepresented any material
fact concerning Covered Property, its interest in Covered Property, any claim under the
Policy, or any coverage part of the Policy or a previous policy issued by United
National, by its failure to report the September, 2006 fire. United National has not
identified any facts to the contrary, and could have verified each of the above facts by
conducting a reasonable investigation in the more than six months since the Fire.

31. None of the provisions United National identified in its October 17 letter
extinguishes United National's contractual obligation to pay for the loss and damage to
the Building caused by and resulting from the Fire.

32. United National is contractually obligated to pay Pali Palm for the loss and
damage to the Building caused by and resulting from the Fire. In breach of its
contractual obligation, United National has failed and/or refused, and continues to
refuse, to pay for the loss and damage to the Building caused by and resulting from the
Fire.

33. As a direct and proximate result of United National’s breach of its
contractual obligation, Pali Palm has sustained damages in the form of the costs and
expenses it has incurred arising from the loss and damage to the Building caused by and
resulting from the Fire. United National is liable to Pali Palm for the costs and
expenses incurred to date, and for any amount yet to be incurred, but which will be
incurred because of United National’s continued failure to honor its contractual
obligation to pay for the loss and damage to the Building caused by and resulting from

the Fire, which amount exceeds $75,000, exclusive of interest and costs.

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THIRD CLAIM FOR RELIEF
(BREACH OF THE IMPLIED COVENANT OF GOOD
FAITH AND FAIR DEALING)

34. The allegations set forth in paragraphs l through 33 are incorporated
herein by reference

35. The Building is Covered Property under the Policy, at a premises described
in the Policy Declarations The July 19, 2007 Fire is a Covered Cause of Loss which
occurred during the Policy's effective period and which caused direct physical loss of
and damage to the Building. Thus, the direct physical loss and damage to the Building
caused by and resulting from the Fire falls within the scope of the insuring agreement in
the Policy. _

36. United National has not identified any Policy provision in support of its
reservation of rights based on the contention that the Fire was intentionally set. United
National has not identified any facts or bases upon which United National's contention
that the Fire was intentionally set could be construed to extinguish coverage for Pali
Palm's claims.

37. Moreover, United National has not inspected the Building in the more than
six months that have passed since the Fire United National has delayed the district
attorney's investigation into the Fire by its failure to provide prosecutors with
documents the prosecutors requested Upon information and belief, this failure is
ongoing. Further, United National requested that Pali Palm submit to an examination
under oath two months ago, but United National has not responded to multiple requests
by Pali Palm to set a date for the examination

38. Notably, at the time of the Fire, Pali Palm was taking active steps to
prevent damage to the Building, by fire or otherwise Prior to the time of the Fire, Pali
Palm incurred significant expense to board up all windows and doors in the vacant

Building so as to protect the Building against damage Pali Palm also hired a security

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company to monitor the Building at night, and the Building was monitored by security
guards, at Pali Palm's expense, on the date of the Fire In addition, Pali Palm
maintained the protective safeguards, identified in the Policy endorsement, at the
Building at the time of the July 19, 2007 Fire

39. United National's purported reservation of rights on the basis that the fire
was intentionally set is without foundation, and is unreasonable

40. Neither the Policy nor any previous policy issued to Pali Palm by United
National requires that Pali Palm provide United National with notice of the September,
2006 fire, because the September, 2006 fire solely occurred at, and caused damage to, a
structure located at 262 S. Cahuilla Road. The structure located at 262 S. Cahuilla
Road is not Covered Property under the Policy or any previous policy issued to Pali
Palm by United National. Pali Palm has not concealed or misrepresented any material
fact concerning Covered Property, its interest in Covered Property, any claim under the
Policy, or any coverage part of the Policy or a previous policy issued by United
National, by its failure to report the September, 2006 fire United National has not
identified any facts to the contrary, and could have verified each of the above facts by
conducting a reasonable investigation in the more than six months since the Fire

41. None of the provisions United National identified in its October 17 letter
extinguishes United National's contractual obligation to pay for the loss and damage to
the Building caused by and resulting from the Fire

42. In breach of its contractual obligation, United National has unreasonably
failed and/or refused, and continues to unreasonably refuse, to pay for the loss and
damage to the Building caused by and resulting from the Fire United National is
contractually obligated to pay for the loss and damage to the Building caused by and
resulting from the Fire United National has no reasonable basis upon which to base its
refusal to pay for the loss and damage to the Building caused by and resulting from the

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43. United National has breached its implied covenant of good faith with Pali
Palm by failing to deal with Pali Palm fairly and in good faith in discharging its
contractual responsibilities under the Policy. United National has caused unnecessary
delay and refused to pay for the loss and damage to the Building caused by and
resulting from the Fire without proper cause.

44. United National's breach of its implied covenant of good faith and fair
dealing has caused Pali Palm to sustain damages, in an amount exceeding $75,000,
excluding interest and costs, including damages in the form of the costs and expenses it
has incurred arising from the loss and damage to the Building caused by and resulting
from the Fire United National is liable to Pali Palm for Pali Palm's damages arising
from United National’s continued unreasonable failure to honor its implied covenant of
good faith and fair dealing to date, and for any amount yet to be incurred, but which
will be incurred because of United National’s continued failure to honor its implied

covenant, which amount exceeds $75,000, exclusive of interest and costs.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

FIRST CLAIM FOR RELIEF
(DECLARATORY JUDGMENT)
1. For a judicial declaration that United National is obligated to pay for the
loss and damage to the Building caused by and resulting from the Fire
SECOND CLAIM FOR RELIEF
(BREACH OF WRITTEN CONTRACT)
2. For damages resulting from the breach of contract in an amount that
exceeds the jurisdictional limitation of this Court, to be proven at trial; and

3. For interest on said amount to be determined at trial; and

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4. For reasonable attorneys’ fees to the extent recoverable by contract and/or
law.
THIRD CLAIM FOR RELIEF
(BREACH OF THE Il\/[PLIED COVENANT OF GOOD FAITH
AND FAIR DEALING)
5. For general damages for the breach of the implied covenant of good faith

and fair dealing in an amount to be proven at trial;

 

6. For punitive and exemplary damages according to proof;
7. For reasonable attorneys’ fees to the extent recoverable by contract and/or
law; and
8. For interest on said amount from the date the aforesaid sum became due.
ON ALL CLAIMS FOR RELIEF
9. For costs of suit incurred herein

10. For such other relief as this Court deems just and proper.

Dated: February 22, 2008

VENABLE LLP

  
   

Byi ~
Donald W. Yoo

Attorneys for Plaintiff,
PALI-PALM SPRINGS, LLC

 

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Dated: February 22, 2008

 

 

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DEMAND FOR JURY TRIAL

Pali-Palm demands a trial by jury as to all issues so triable

VENABLE LLP

  
 

By: '
Donald W. Yoo

Attorneys for Plaintiff,
PALI-PALM SPRINGS, LLC

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Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 15 of 62 Page |D #:15

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+1 951 321 0148 T'173 P.UG?/UUB F-854

UN|TED STATES DlSTR\CT COURT, CENTRAL DlSTRlCT OF CAUFORN|A
C

ivii_ coven §HEET
DEFENIJANTS

United National Insurance Company

 

l(a) PLA|NT|FF$ lchod= box ifyoi.i m rspm=uriung youscif 1:1 )
Pa]. i - Palm Springs , LLC

(b) county or nuisance ni i=r=i union Piainnii remain in u.e Piaimiir casoni county at mm 01 mr mine woman un us martin cane oniyi:

 

 

(n) Aumneysirmunrne,nndiossmrmpm. “ umw ,
manion

Dcmglas C. Emhoff

Venable LLP

204=9 Century Park Easii;

Su:i.te 2100

Loe Angeles, California 90067

1310) 229-9900

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citizen or subjectan C'_'l 3 l:l s i=nreign union 13 s 1:1 s

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Appeiiate Court

V.
CLASS ACT|ON under F.R.C.P. 23: 1'_':1 m [X'l rio

REQUESTED |N COMPLA|NT: JURY DEMAND'. [X] vn=

 

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[X__1 MONEY DEMANDED lN GONIPLAlNT: $ 'I`BQ

 

Vl. . CAL)SE OF ACTlON (cueu»u.s.cmswnnnwniimywmn
there being an actual cmcrovursy
tz) breach of cone:ecr.; and (3)
obligations under

Jvrisdictio.'n ia based upon 28 U.S.C. §2201,
51332 (E) 111 . Plaintiff .‘.',ieeks:

    

 

        

 

(1) declaratory judgment,~
faith and fair dealing based upon Defendant.‘s failure co fulfill :Lt.s

Vll. l~|ATl.lRE OF SU|T (Flace an X in one box only-)
m ._ “. _ _ .

 
 

 

 

 

  
 

   

 

  

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between the parties, and upon 28 U.S.¢.
breach of she covenant of good
plaineiff'.-a insurancy policy.

   
 

 

 

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summaries Righe E§ mm ~ mae g

Vlll(a). lDENTlCA`L CASES: l-las this action been previously filed and dismisse

lf yes. list case number(e):

cl, remanded orclosed? No 13 Yes

 

 

 

 

 

 

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else 2.08 cv 01231-GHK-.]W.] Document 1 Fl|ed 02/22/08 Page 16 of 62 Page |D #'16

FEB-ZZ~U : -
8 05 SUPM FROM TlME MACH|NE ATTORNEY SERVICE Riverside +l 95l 32| 0148 T'l?$ P 008/008 F 654

UN|TED STATES DlSTRlCT COURT, CENTRAL Dl$TR|CT OF CAL|FORN[A
ClVlL COVER $HEET

AFTER GOMPLET|NG THE FRONT SlDE OF FORM CV-`l1, COMPLETE THE lNFORMATION REQUESTED BELQW.

Vlll(b), RELATED CASE$: Have any cases been previously riled that are related to the present casc? No [::] Yes

if yes. list case number(s)z
Civil cases are deemed related 'rf a previously filed case and the present case:
(Check all boxes that apply) l:]A. Arise from the sams or closely misled transactions happenings. or evonts; cr
l:] B. Call for determination of ihe same cr substantially related cr similar questions ofiaw and fect; or
[:l G. For other reasons would entail substantial duplication of labor if heard by dinercnt judges‘, or
l__`;] D. involve the same patsnt. trademark or copyright B one of the factors identified above
irl a, b or c also is present.

 

 

iX. VENUE: List the California Courity, or State if other than Cslifomia. in which EACl-i named plaintiff resides ruse an additional sham ir newssary)
l:l Check here if the U.S. govemmcnt, its agencies or employees is a named plaintiff
Los A:tgeles Count.y

List the California Gounty. or State if other than California. in which EACl-l named defendant resides russ somewhat sustain nscsrsary).

g Check here if the iJ.S. government its agencies or employees ls o named defendant
Pennsylvania

List the California Ccunty, or Stsio ii outer than Calilomia, in which EACH claim arose. russ an additional sheeinnscsssaiy)
Notie: ln land condemnation cases. use the location cf the tract of land involved

R:`.vers:i.d,e County

x. slcuiin‘uns ol= ATroRuEv lott PRo PER)= §§ `_ bars lowry 22[ song

Notice to CounsellPartios: The CV'71 (JS»44) Givil Cover Sheet and the information contained herein neither replace nor supplement ihs
lilirig and service of pleadings cr other papers ss required by iaw. Th|s form. approved by the Judicial Conierence cf the United Staies in
September 1974, is required pursuant to Loral Rule 3»1 is riot nled but is used by the Clerlr of the Court for the purpose of statistics venue
and initiating the civu docket sheet. (For more detailed instructions sec separate instructions sheet.)

Kcy to Siia‘iistical codes relating to Socioi Sccuriiy Cases:

 

 

 

 

 

Nature cf Suit Code Abbneviation Subs\sntive Stal'ioment cf Cause of Action

861 HlA All claims for health insurance benehis (Mcdlwis) under Titie 18, Part A. of the Social
Secul’ity Act. as amended Also, include claims by hospitals skilled nursing facilitiesl elc.. for
ccrtiiicatlon as providers of services under the program (42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung" benciits under Title 4, Part B. of the Fedoral Ccal Mii‘ie l-lealth
and szcty Acl cf 1969. (30 U.S.C. 923)

563 DlWC All claims nled by insured workers for disability insurance benefits under 'l'rile 2 of the Sccial
Sccuriiy Aci. as amended; plus all claims filed for child’s insurance benefits based cn
disability (42 U.S.C. 405(9))

863 DlWW All claims filed for widows or widowers insurance benefits based on disability under "l'me 2 of
the Social Securlly Acl, as amended (42 U.S.C. 405(9))

864 SSlD All claims for supplemental security income payments based upon disability liled underTitle
16 of the Socisll Security Aci. ss amended

865 RSl All claims for retirement (old age) and survivors benefits under Titlo 2 of the Scciol Security
Act. ss amended (42 U-S-C- (ii))

 

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Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 17 of 62 Page |D #:17

FEB~ZZ-|JB UE:ZBPM FROM'T|ME MACHINE ATTORNEY SERV|CE Riverslde +1 951 321 Ul48 T~l73 P.UUB/UUB F'854

DOUGLAS C. EMHOFF (Cal. Bar No. 151049)
DONALD W. YOO (Cal. Bar No. 227679)
VENABLE LLP

2049 Cenmry Park Easr., Suite 2100

Los Angeles, California 90067

Telephone: (310) 229-9900

 

UNITED STATES DISTRICT COURT
CENTR.AL DISTRICT OF CALIFORNIA

PALI-PALM SPRINGS, LLC cAsF. NUMBEF.

"‘“W 08 - 0 1231¢.;»'1£\¢§“~1~1<)

v.
UNITED NATIONAL I`NSURANCE COMPA.NY

SUMMONS
DEFENDANT(s).

 

 

TO: DEFENDANT(S): United Ng'onal lusurang.g Comga__ny

A lawsuit has been filed against you.

Within 20 days after service ofthis summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached El'cornplalnt l°.Zl amended complaint
El counterclaim l:l cross»claim or a motion under Rule 12 of the Federal Rnles of Civil Procedure. 'Il:c answer
or motion must be served on the plaintiff’s axtorney, Doue;las C. Emhoff . whose address is
2049 Cenn_.\_ry Park Eg_s_t, Suite $ZlOOz Los Angeles. California 90067 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer or motion with the court.

Clerk, U.S. District ourt

Dated: WB 22 ?008 By; 1'.

__

l `Deputy Clcrk

 

(Seal afzhe Cour¢)

[Use 60 days ifzhe defendant is the United S¢a!es or a Um'zed Sta¢es agem.y, or is an oj‘¢`cer or employee of!he United Sta¢es. Allowed
60 days by Rule ]2(a)(3)].

 

CV-Ol A (12/07) SUMMONS

 

Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 18 of 62 Page |D #:18

EXHIBIT A

 

 

` 5 Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed‘O2/22/08 Page 19 of 62 Page |D #:19

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COMMERC|AL PROPERTY POLICY
COMMON POL|CY DECLAHAT|ONS

United National lnsuranca Com an Dlamond S!ate insurance Com an Unlted National S aclall Insurance Com an
BALA CYNWYD, PENNSYLVANlAp y [:j lNDlANAPOLlS, lNDlANA p y l:] MlLWEUKEE. MISCONSlN p y

Policy No. VB 0 0 0 0 4 0 8 Renewal of No.. NE’W

Named lnsured and Malllng Address

(No. Street, Town or Cily, County, Stale, Zip Code) Pmduce" (Name' Add"§$$ & C°de)l 0 12 2 3
Pali - Palm Springs, LLC Tri City Brokerage Inc.
Archelle Holdings Inc.
1416 Second Street 50 California Street

Sui t e 2 0 0 0
Sanata Monica CA.90401 San Francisco CA94111

Policy Perlod: From September 27. 2005 to September 27, 2006
at 12:01 AM Standarcl Time at your mailing address shown above

|N RETURN FOR THE PAYMENT OF THE PREM|UM, AND SUBJECT TO ALL THE TERMS OF THlS
POLICY, WE AGREE W|TH YOU TO PROVIDE THE lNSURANCE AS STATED lN TH!S POL|CY.

Buslness Descrlptlon: Vacant Building
DESCH|PTION OF PREM!SES

 

 

Prem Bldg Location ` Construction and Occupancy
001 001 261 S Belardo Rd. Frame
Palm Springs _ CA 92262 Vacant Hotel Resort
002 143 8643_[19§;101.81¥€1.0150:-3#¢' Frame
Lo§Angeles--_-~ CA~§€B€& Vacant Hotel Resort

 

COVERAGES PROVlDED leuRANCE AT THE UESCR|BED PREM:SES APPLlES ONLY FOR COVERAGE S FOR WH\CH A LlM\T
OF stuHANCE rs SHOWN.

 

Limilof Coveorsfe€o(§§uses ?/i>ci]n?grancaor Repl&%¢§rt'nent

Prern B|dg Coverage lnsurance demmly
001 001 Building $605,920 Basic 80%
002\ 1-8 Each:Building/Bugalow $80,510 Basic 80%

 

MORTGAGE HOLDER(S) (Name and Malling Address)

ALL 001 East West Bank 407 W valley Blvd., Albama, CA 90405
ALL 001 MKA Fleal Estate Opportunity .. 5 Park Plaza Ste 1570, lrvlne, CA 92614

 

 

DEDUCT!BLE: $1.000 Commercial Property Premium:
Equlpment Breakdown Premium:
Optlonal Terrorlsm Coverage Premlum:
Premlum Payable at lnceptlon:
Minlmum Earned Premlum;

12,240.00

1 2,240.00
3.060.00

693)&9$6%

 

Form(s) and Endorsement(s) made a part of this policy at time of lssue:
SEE ATTACHED SCHEDULE OF POl_lCY FORMS AND ENDORSEMENTS SAA~100

 

 

 

'Z/ » w
Counlersigned: 01/10/06 By ”"‘“"'
AGEN’I' Aulhorized Represemative

delul-l$

 

DPB-101 (3/2004)

Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 20 of 62 Page |D #:20

Pali ~ Palm Springs, LLC VB0000408

SCHEDULE OF POL|CY FORMS AND ENDOF!SEMENTS

FOrm(S) and Endorsement(e) made a part of this policy at time of issue.

 

Form Number Edition Date Descrigtlon

COMMON

JPAlOO 0798 Rev. 7~01-01 POLICY JACKET w

EAAlOG 0504 IN WITNESS CLAUSE “`

EAA14 6 12 0 l TERRORI SM EXCLUSION "“‘

EPA44O 11 0 3 ELECTRONIC DATA & CYBER RI SK EXCL ""'
EPBlOl 0604 ADDITIONAL POLICY CONDITION ......
ILOOOB 1185 CALCULATION OF PREMIUM -~

ILO 0 17 11 85 COMMON POLICY CGNDITIONS~ "”°°
SCl 02 9 8 MINIMUM EARNED PREMIUM ..--

SC'7 0298 SERVICE OF SUIT ~ CA *‘

COMMERCIAL PROPERTY

DPBlol 0804 coMM'L PROPERTY cOMMON POLICY DEc
cpoolo 0695 BLDG a PERSONAL PRoP cov FoRM-
cP0090 0788 commean PROPERTY coNDITIoNS -
cP0450 0788 vAcANcY PERmT --
cP1010 0695 cAUsES oF Loss _ BASIC FORM -
CP:LOSS 0695 sPRINKLER LEAKAGE EXCLUSION~
EPA392 0901 INDOOR AIR QUALITY ExcLUsIoN #-
EPBloz 0405 SECURED vACANT BUILDING REQUIREMENT '~
EPB115 0604 vACANCY REQUIREMENT ~~-
EPBlz? 0105 PROTECTIVE SAFEGUARDS »-

sAA-1oo (e-Qa)

CM&A - vi

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Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 21 of 62 Page |D #:21

x

CPOO 10 0695

BU|LD|NG AND PERSONAL PFlOPEFiTY COVERAGE FORM

Various provisions in this policy restrict coverage Flead the entire policy carefully to determine rights, duties and

what is and is not covered

Throughout this policy the words "you" and "youi“' refer to the Named lnsured shown in the Declarations The Words

"we,” “us“ and “our" refer to the Company providing this insurance

Other Words and phrases that appear in quotation marks have special meaning Fieler to SECTlON l~l -

DEF|NlTlONS..
A. COVERAGE

We will pay for direct physical loss cl or damage
to Covered Property at the premises described ln
the Declarations caused by or resulting from any
Covered Cause of Loss,

1. Covered Property

Covered Property, as used in this Coverage
Part, means the type cl property described in

this section. Ai ., and limited in A.2., Property

Not Covered, il a Limit'TJ'l nsurance is shown

ihthe De€larations for that type of property

at Building, meaning the building or
structure described in the Declarations,
including:

(1) Completed additions;

(2) Fi)<tures, including outdoor iixtures;

(3) Permanently lnstalled:

(a) Machlnery and
(b) Equipment;

(4) Perscnal property owned by you that
ls used to maintain or service the
building or structure or its premises
including:

(a) Fire extinguishing equipment
(b) Outdoorlurniture;
(c) Floor coverings; and

(d) Appllances used for refrigerating
ventilating, cooking, dishwash~
ing or laundering;

(5) il not covered by other insurance:

(a) Additions under construction
alterations and repairs to the
building or structure;

(b) Materlals, equipmentl supplies
and temporary structuresl on or
within 100 feet of the described

 

 

(1) Furniture and lixtures;

(2) Machinery and equipment;

(3) “Stock";

(4) All other personal property owned by
you and used in your business;

(5) Labor, materials or services
furnished or arranged by you on
personal property of others;

(6) Your use interest as tenant in
improvements and betterments
improvements and betterments are
fixtures, alterations installations or
additions:

(a) Made a part cl the building or
structure you occupy but do not
own; and

(b) You acquired or made at your
expense but cannot legally
remove;

(7) Leased personal property lor which
you have a contractual responsibility
to lnsure, unless otherwise provided
for under Personal Property of
Others.

Personal Property of Others that is:
(1) in your care, custody or ccntrol; and

(2) Located in or on the building
described in the Declarations or in
the open (or in a vehicie) within 100
feet of the described premises

l-lowever, our payment for loss of or
damage to personal property of others
will only be for the account of the owner
of the property

2. Property Not Covered
Covered Property does not include:

, _ a. Accounts, bills, currency, deeds, food
pre'?jfses' Used. for mak"}g stamps or other evidences of debt,
addrtions, alterations or repairs money notes m Secumies~ Lonery
to the blmde m Stmct“re' tickets held for sale are not securities;

b' your Business Pe}'s‘_ma’ P'PPE"§Y b. Animals, unless owned by others and
located in or on the building described m boarded by you’ er if Owned by you. On[y
the Dec‘a".a“°ns °r in me Ope" (m m a as ”stocl<" while inside olbulldings;
vehicle) Withln 100 feet cl the described A bn h id f l _
premises, consisting of the following c' L{t°mo 93 e O' 33 e'
unless otherwise specified in the d. Bndges, roadways, wail<s, patios or other
Declarations or on the Your Business paved SUrlaCeS;

P€YSO“€“ PFOPGFW ' Sepalafion of e. Contraband. or property in the course of
Coverage form:

CFiso(o-ss)

CPOO 10 06 95 Copyright, lSO Cornmercial Risk Services, inc., 1994 Page 1 cl 9

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Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 22 of 62 Page |D #:22

See applicable Causes of Loss Fonn as
shown in the Declarations

4.. Additlonal Coverages

illegal transportation or trade;

f. The cost of excavations, grading
backfilling or filling;

Foundations of buildings, structures
machinery or boilers if their foundations
are below:

(1) The lowest basement flooi", or

(2) The surface of the ground, if there is
no basement

Land (including land on which the
property is iocated), water, growing
crops or lawns;

Personai property while airborne or
waterborne;

Bull<heads, pilings, piers. wharves or
docks;

Property that is covered under another
coverage form of this or any other policy
in which it is more specifically described,
except for the excess of the amount due
(whether you can collect on it or not)
from that other insurance;

Retaining walls that are not part of a
budding;

. Underground pipes, fines or drains;

The cost to research, replace or restore
the information on valuable papers and
records, including those which exist on
electronic or magnetic media, except as
provided in the Coverage Extensions;

Vehicles or seii~propelied machines

(inciuding aircraft or watercraft) that:

(1) Are licensed for use on public roads;
or

(2) Are operated principally away from
the described premises

This paragraph does not apply to:

(1) Vehicles or self-propelled machines
or autos you manufacture process
or warehouse;

(2) Vehicles or self-propelled machines,
other than autos, you hold for sale;
or

(3) Fiowboats or canoes out of water at
the described premises;

. The following property while outside of

buildings:
(1) Grain, hay, straw or other crops;

(2) Fences, radio or television antennas
(inciuding satellite dishes) and their
lead-in wiring, masts or towers, signs
(other than signs attached to
buildings), trees, shrubs or plants
(other than "stock“ of trees, shrubs or
plants), ali except as provided in the
Coverage Extensions.

3, Covered Causes of Loss

a. Debris Removai

(1) We will pay your expense to remove
debris of Covered Property caused
by or resulting from a Covered
Cause of Loss that occurs during the
policy period The expenses will be
paid only if they are reported to us in
writing within 180 days of the date of
direct physical loss or damage

(2) The most we will pay under this
Additional Coverage is 25% oi:

(a) The amount we pay for the direct
physical loss of or damage to
Covered Property', plus

(b) The deductible in this policy
applicable to that loss or
damage

But this limitation does not apply to
any additional debris removal limit
provided in the Limits of insurance
section

(3) This Additional Coverage does not
apply to cost to:

(a) Extract ”poilutants" from land or
water; or

(b) Remove, restore or replace
polluted land or water.
Preservation of Property
lt it is necessary to move Covered
Property from the described premises to
preserve it from loss or damage by a
Covered Cause of Loss, we will pay for
any direct physical loss or damage to
that property:
(1) Whlle it is being moved or while
temporarily stored at another
location; and

(2) Oniy if loss or damage occurs Withln
30 days after the property is first
moved.

Fire Department Servlce Charge

When the fire department is called to

save or protect Covered Property from a

Covered Cause of Loss, we will pay up to

$1,000 for your liability for fire

department service charges:

(1) Assumed by contract or agreement
prior to loss; or

(2) Flequired by local ordinance

No Deductibie applies to this Additionai

Coverage.

Poilutant Clean Up and Flernovai

We will pay your expense to extract

"pollutants" from land or water at the

CF 160 (6-95)

Copyright, lSO Commercial Rislr Services, inc , 1994 CP 00 10 05 95

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described premises ii the discharge,
dispersai, seepage, migration, release or
escape of the "poi|utants" is caused by or
results from a Covered Cause of Loss
that occurs during the policy period. The
expenses will be paid only if they are
reported to us in writing within 180 days
of the date on which the Covered Cause
of Loss occurs

This Additional Coverage does not apply
to costs to test for, monitor or assess the
existence, concentration or effects of
"poliutants." But we le pay for testing
which is performed in the course of
extracting the "poilutants‘l from the land
or water.

The most we will pay under this
Additional Coverage for each described
premises is $10,000 for the sum of all
covered expenses arising out of Covered
Causes of Loss occurring during each
separate 12 month period of this poiicy.

Coverage Extenslons

Except as otherwise provided, the
following Extensions apply to property
located in or on the building described in
the Declarations or in the open (or in a
vehicie) within 100 feet of the described
premises

if a Coinsurance percentage of 80% or
more or, a Value Reporting period
symboll is shown in the Declarations, you
may extend the insurance provided by
this Coverage Part as follows:

Newly Acquired or Constructed

Property

(1) You may extend the insurance that
applies to Building to apply to:

(a) Your new buildings while being
built on the described premises;
and

(b) Buildings you acquire at
iocatlons, other than the
described premises, intended
for:

(l) Similar use as the building
described in the Declara~
tions;or

(li) Use asawarehouse.

The most we will pay for loss or
damage under this Extension ls
$250,000 at each building

(2) You may extend the insurance that
applies to Your Business Personai
Property to apply to that property at
any location you acquire other than
at fairs or exhibitions

The most we will pay for loss or
damage under this Extension is

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$10c,000 at each building

(3) insurance under this Extension for
each newly acquired or constructed
property will end when any ot the
following nrst occurs:

(a) This policy expires;

(b) 30 days expire after you acquire
or begin to construct the
property; or

(c) You report values to us.

We will charge you additional

premium for values reported from the

date construction begins or you
acquire the property

b. Personal Effects and property of

Others

You may extend the insurance that
applies to Your Business Personal
Property to apply to:

(1) Personal effects owned by you, your
otiicers, your partners or your
employees This extension does not
apply to loss or damage by theft

(2) Personal property of others in your
care, custody or control

The most we will pay for loss or damage
under this Extension is $2,500 at each
described premises. Our payment for
loss of or damage to personal property of
others will only be for the account of the
owner of the property

Valuable Papers and Records - Cost of
Research

You may extend the insurance that
applies to Your Business Personal
Property to apply to your costs to
researoh, replace or restore the lost
information on lost or damaged valuable
papers and records, including those
which exist on electronic or magnetic
media, for which duplicates do not exist
The most we will pay under this
Extension is $2,500 at each described
premisesl unless a higher limit is shown
in the Declarations
Property Off-Premlses
You may extend the insurance provided
by this Coverage Form to apply to your
Covered Property, other than “stocl<,"
that ls temporarily at a location you do
not own, lease or operate This Extension
does not apply to Covered Property:
(1) in or on a vehicle;
(2) in the care, custody or control of
your salespersons; or
(3) At any fair or exhibition.
The most we will pay for loss or damage
under this Extension if $10,000.

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e. Outdoor Property D. DEDUClel_cZ

You may extend the insurance provided
by this coverage form to apply to your
outdoor fences, radio and television
antennas (including satellite dishes),
signs (other than signs attached to
buildings), trees, shrubs and plants
(other than "stock“ of trees, shrubs or
plants), including debris removal
expense, caused by or resulting from any
of the following causes of loss il they are
Covered Causes of Loss:

(1) Fire;
(2) Lightning;
(3) Explosion;
(4) Riot or Civil Comrnotion; or
(5) Aircraft`
The most we will pay for loss or damage
under this Extension is $1,000, but not
more than $250 for any one tree, shrub or
plantr These limits apply to any one
occurrence, regardless cl the types or
number of items lost or damaged in that
occurrence
Each of these Extensions is additional insurance
The Additional Condition, Coinsurance. does not
apply to these Extensions.
EXCLUSIONS AND LlMlTATiONS

See applicable Causes of Loss Form as shown in
the Declarations

. i.lMlTS OF lNSUFlANCE

The most we will pay for loss or damage in any
one occurrence is the applicable limit of
insurance shown in the Declarations

The most we will pay for loss or damage to
outdoor signs attached to buildings is $1,000 per
sign in any one occurrence

The limits applicable to the Coverage Extensions
and the Fire Department Service Charge and
Pollutant Clean Llp and Removal Additional
Coverages are in addition to the Limits of
insurance

Payments under the following Additional
Coverages will not increase the applicable Limit
of insurance:

1.. Preservation ot Property; or
2. Debris Removal; but lf:

a. The sum of direct physical loss or
damage and debris removal expense
exceeds the Limit of lnsurance; or

b. The debris removal expense exceeds the
amount payable under the 25% limitation
in the Debris Removal Addltional
Coverage;

we will pay up to an additional $10,000 for

each location in any one occurrence under

the Debris Flemovai Additionai Coverage

We will not pay for loss or damage in any one
occurrence until the amount of loss or damage
exceeds the Deductible shown in the
Declarations We will then pay the amount of loss
or damage in excess of the Deductible, up to the
applicable Limit of insurancel after any deduction
required by the Coinsurance condition or the
Agreed Value Optional Coverage

When the occurrence involves loss to more than
one item of Covered Property and more than one
Limit of insurance applies. the Deductible will
reduce the total amount of loss payable il loss to
at least one item is less than the sum of (1) the
l_lmit of insurance applicable to that item plus (2)
the Deductible.

Example No- 1:

(l' his example assumes there is no coinsurance
penalty.)

Ded uctible: $250

Limit of insurance - Bldg` l: $60,000

Limit of insurance - Bldg` 2: $80,000

Loss to Bidg. 1: $60,100

Loss to Bldg. 2: $90,000

The amount of loss to Bidg~ t ($60.100) is less
than the sum ($60,250) of the Limit cl insurance
applicable to Bldg. l plus the Deductible.

The Deductible will be subtracted from the
amount of loss in calculating the loss payable for
Bldg. l:

$60,100

- 250

$59,850 Loss Payable ~ Bldg. 1

The Deductible applies once per occurrence and
therefore is not subtracted in determining the
amount of loss payable for Bldg 2. Loss payable
for Bldg. 2 is the Limit of insurance of $80,000_
Totai amount of loss payable: $59,850 + 80,000=
$139.850

Example No. 2:

(l' his example, too, assumes there ls no
coinsurance penalty.)

The Deductibie and Limits of insurance are the
same as those in Example No. 1.

Loss to Bldg. 1: $70,000 (exceeds Limit of
insurance plus Deductible)
$90,000 (exceeds Limit of
insurance plus Deductible)
Loss Payable - Bidg. 1: $60,000 (Limit of

l_oss to Bldg 2:

lnsurance)

Loss Payable - Bldg. 22 $80,000 (l_imlt of
lnsurance)

Totai amount of loss payable: $140,000

LGSS CONDlTlONS

The following conditions apply in addition to the
Common Policy Conditions and the Cornmercial

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Property Conditions.

1.

Abandonment

There can be no abandonment of any
property to us.

Appralsai

if we and you disagree on the value of the
property or the amount of loss, either may
make written demand for an appraisal of the
loss. in this event, each party will select a
competent and impartial appraiser. The two
appraisers will select an umpire if they
cannot agree, either may request that
selection be made by a judge of a court
having jurisdiction The appraisers will state
separately the value of the property and
amount of loss if they fail to agree, they will
submit their differences to the umpire A
decision agreed to by any two will be binding
Each party will:

a. Pay its chosen appraiser; and

br Bear the other expenses of the appraisal
and umpire equally

if there is an appraisal, we will still retain our

right to deny the claims

3. Dutles in The Event Of Loss Or Damage

a. You must see that the following are done
in the event of loss or damage to
Covered Property:

(t) Notify the police if a law may have
been broken

(2) Give us prompt notice of the loss or
damage include a description of the
property involved

(3) As soon as possible give us a
description of how, when and where
the loss or damage occurred

(4) Take all reasonable steps to protect
the Covered Property from further
damage and keep a record of your
expenses necessary to protect the
Covered Property, for consideration
in the settlement of the claim. This
will not increase the Limit of
insurance i-lowever, we will not pay
for any subsequent loss or damage
resulting from a cause of loss that is
not a Covered Cause of Loss Also, if
feasible set the damaged property
aside and in the best possible order
for examination

(5) At our request, give us complete
inventories of the damaged and
undamaged property include
quantities cost, values and amount
of loss claimed

(6) As often as may be reasonably
required, permit us to inspect the
property proving the loss or damage
and examine your books and

records

Also permit us to take samples of
damaged and undamaged property
for inspection. testing and analysls,
and permit us to make copies from
your books and records

(7) Send us a signed, sworn proof of
loss containing the information we
request to investigate the claim You
must do this within 60 days after our
request We will supply you with the
necessary forms

(8) Cooperate with us in the
investigation or settlement of the
claim.

We may examine any insured under oath,
while not in the presence of any other
insured and at such times as may be
reasonably required, about any matter
relating to this insurance or the claim,
including an insured's books and
records in the event of an examination
an insured's answers must be signed.

4r Loss Payment

a.

ln the event of loss or damage covered
by this Coverage Form, at our option. we
will either;

(1) yl°ay the value of lost or damaged
property;

(2) Pay the cost of repairing or replacing
the lost or damaged property,
subject to b. below;

(3) Take all or any part of the property at
an agreed or appraised value; or

(4) Fiepair, rebuild or replace the
property with other property of like
kind and quality, subject to b. below..

The cost to repair, rebuild or replace
does not include the increased cost
attributable to enforcement of any
ordinance or law regulating the
construction use or repair of any
property

We will give notice of our intentions

within 30 days alter we receive the sworn

proof of loss.

We will not pay you more than your
financial interest in the Covered Property,

We may adjust losses with the owners 'of
lost or damaged property if other than
you. il we pay the owners, such
payments will satisfy your claims against
us for the owners' property We will not
pay the owners more than their financial
interest in the Covered Property

We may elect to defend you against suits
arising from claims ot owners of
property We will do this at our expense

 

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g. We will pay for co.,~red loss or damage
within 30 days after we receive the sworn
proof of loss, ii you have complied with
ali of the terms of this Coverage Part and:

(1) We have reached agreement with
you on the amount oi loss; or

(2) An appraisal award has been made
5~ Fiecovered Property

if either you or we recover any property after
loss settlement. that party must give the other
prompt notice At your option, the property
will be returned to youh You must then return
to us the amount we paid to you for the
property We will pay recovery expenses and
the expenses to repair the recovered
property, subject to the Limit of insurance

6_ Vacancy
a. Description of Terms

(1) As used in this Vacancy Condition,
the term building and the term vacant
have the meanings set forth in (t)(a)
and (t)(b) below:

(a) When this policy is issued to a
tenant, and with respect to that
tenant's interest in Covered
Property, building means the unit
or suite rented or leased to the
tenant Such building is vacant
when lt does not contain enough
business personal property to
conduct customary operations

(b) When this policy is issued to the
owner of a building, building
means the entire building Such
building is vacant when 70% or

re) Theft; or
(f) Attempted theft

(2) With respect to Covered Causes of
i_oss other than those listed in
bi(l)(a) through b..(t)(f) above, we
will reduce the amount we would
otherwise pay for the loss or damage
by 15%.

7. Va|uation

We will determine the value of Covered
Property in the event ot loss or damage as
follows:

a.

At actual cash value as of the time of loss
or damage except as provided in b., c..
d., e. and t. below

ii the Limit oi insurance for Building
satisfies the Additionai Condition,
Coinsurance, and the cost to repair or
replace the damaged building property is
$2,500 or less, we will pay the cost of
building repairs or replacement

The cost of building repairs or
replacement does not include the
increased cost attributable to
enforcement of any ordinance or law
regulating the construction use or repair
of any property l~iowever, the following
property will be valued at the actual cash
value when attached to the building:

(i) Awnings or floor coverings;

(2) Appliances for reirigerating,
ventilating, cooking, dlshwashing or
iaunden'ng; or

(3) Outdoor equipment or furniture

- . c. "Stock“ you have sold but not delivered
more owe Square footage' at the selling price less discounts and
(l) is not remark O' expenses you otherwise would have had
(li) lS not used iq C°"duct d- Glass at the cost of replacement with
CUStQmaFY OP€FaUOnS~ safety glazing material if required by iaw.
(2) Buildings under CODSiFUCflOil Ol' e_ Tenant's improvements and Betterments
renovation are not considered at
Vacant (1) Actual cash value ot the lost or
bi Vacan€l' P'OVlSl°nS damaged property ii you make
il the building where loss or damage repairs promptly
occurs has been vacant for more than 60 2 A r On;on 05 Our orr maj Cost gi
consecutive days before that loss or ( ) yog §§ not mak; repai,gs promptly
damage OCCWS? We will determine the proportionate
(1) We will not pay for any loss or value as follows:
damage Cause_d by any Of the (a) Muitiply the original cost by the
following even rf they are Covered number Of days from the ross Or
Causes Of LOSS? damage to the expiration of the
(a) Vandaiism; lease; and
(b) Sprirrkier leakage, unless you (b) Divide the amount determined in
have protected the system (a) above by the numbeer days
against freezing; trom the installation oi
(c) Building grass breakage; improvements to the expiration
_ of the lease
(d) Water damage _
if your lease contains a renewal
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option, the expiration of the renewal
option period Wiil replace the
expiration of the lease in this
procedure

(3) Nothing if others pay for repairs or
replacement

f. Valuabie Papers and Records, including
those which exist on electronic or
magnetic media (other than
prepackaged software programs), at the
cost ol:

(1) Blani< materials for reproducing the
records; and

(2) i.abor to transcribe or copy the
records when there is a duplicate

F. ADDiTiONAL COND|TIONS

The following conditions apply in addition to the
Common Policy Conditions and the Cornrnerclai
Property Conditlons.

1. Coinsurance

ii a Coinsurance percentage is shown in the
Declarations the following condition applies

a. We will not pay the full amount cl any
loss if the value of Covered Property at
the time of loss times the Coinsurance
percentage shown for it in the
Declarations ls greater than the Limit of
insurance for the property..

instead, we will determine the most we
will pay using the following steps:

(1) Multiply the value of Covered
Property at the time oi loss by the
Coinsurance percentage;

(2) Divide the Limit of insurance ot the
property by the figure determined in
Sfep (1);

(3) l\/luitiply the total amount of ioss,
before the application of any
deductible by the figure determined
in step (2); and

(4) Subtract the deductible from the
figure determined in step (3).

We will pay the amount determined in
step (4) or the limit cl lnsurance,
Whichever is iess. For the remainder, you
will either have to rely on other insurance
or absorb the loss yourself

Step (1): 5250,000 X 80% = $200,000

(the minimum amount of insurance to
meet your Coinsurance requirements)

step (2): sioo,ooo z $200,000 = .50
Step (3): $40,000 x .50 = $20,000
step (4): $20.000 - $250 = s19,750

We will pay no more than $19,750. The
remaining $20,250 is not covered

Example No. 2 (Adequate lnsurance):
When:

The value of the

property is: $250,000
The Coinsurance

percentage for lt is 80%
The Limit of insur~

ance for it is $200,000
The Deductit)ie is $250
The amount of loss is $40,000

The minimum amount of insurance to
meet your Coinsurance requirement is
$200,000 ($250,000 x 80%).` Therefore,
the Limit of insurance in this Example is
adequate and no penalty applies We will
pay no more than $39,750 ($40,000
amount ot loss minus the deductible of
$250).`

if one Limit of insurance applies to two or
more separate items, this condition will
apply to the total of all property to which
the limit applies.

Example No. 3:

When:

The value oi property is:
Bidg. at Location

No.i $75,000

Bldg. at location

No. 2 $100,000

Personal Property at

l.ocation No. 2 §75,000
$250,000

The Coinsurance
percentage for lt is 90%

The Limit of insurance
for for Buildings and Per~
sonat Property at Loca-

Example No. 1 (Underinsurance): lion NOS~ 1 and 2 is $189.000
When; The Deductibie is $1,000
The Value Of me The amount of loss is:
property is $250`000 Bldg at Location No. 2 $30,000
The Coinsurance Perso_"a' Propeity 31
percentage for it is 80% L°Catlon NO~ 2 §§g.-.g_g_g.
The Limit of insur- ’
ance for it is $1(]0,000 Siep (1)§ $250,000 X 90% = $225,000
The peduc;ibie is $250 (the minimum amount of insurance to
The amount Of ¥OSS is $ 40 000 meet your Colnsurance requirements _
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and to avoid the pe. ddry shown below)
Step (2): $180,000 + $225,000 = .80
Step (3): $50,000 x 80 = $40,000
step (4): sao,ooo - s1,000 = $39,000

We will pay no more than $39,000. The
remaining $'l 1,000 is not covered

2.. Mortgagehoiders

a.

b.

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The term “mortgagehoider" includes

trustee.

We will pay for covered loss of or
damage to buildings or structures to
each mortgageholder shown in the
Declarations in their order of
precedence as interests may appear

The mortgagehoider has the right to
receive loss payment even if the
mortgagehoider has started foreclosure
or similar action on the building or
structure

if we deny your claim because of your
acts or because you have failed to
comply with the terms of the Coverage
Part, the mortgageholder Wil| still have
the right to receive loss payment if the
mortgagehoider;

(1) Pays any premium due under this
Coverage Part at our request if you
have failed to do so;

(2) Subrnlts a signed, sworn proof of
loss within 60 days after receiving
notice from us of your failure to do
so; and

(3) Has notified us of any change in
ownership, occupancy or substantial
change in risk known to the
mortgageholdert

All of the terms of this Coverage Part will
then apply directly to the
mortgagehoider.

if we pay the mortgagehoider for any loss
or damage and deny payment to you
because of your acts or because you
have failed to comply with the terms of
this Coverage Part:

(1) The mortgageholder‘s rights under
the mortgage will be transferred to us
to the extent of the amount we pay;
and

(2) The mortgageholder‘s right to
recover the full amount of the
mortgagehoidei’s claim will not be
impaired..

At our option, we may pay to the
mortgageholder the whole principal on
the mortgage plus any accrued interest
in this event, your mortgage and note will
be transferred to us and you will pay your
remaining mortgage debt to ust

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lf we cancel this poiicy, we will give
written notice to the mortgageholder at
least:

(1) 10 days before the effective date of
cancellation if we cancel for your
nonpayment of premium; or

(2) 30 days before the effective date of
cancellation if we cancel for any
other reason..

if we elect not to renew this policy. we will
give written notice to the mortgageholder
at least 10 days before the expiration
date of this policy

Gt OPTlONAL COVEHAGES

if shown in the Declarations, the following
Optional Coverages apply separately to each

item.

1- Agreed Value

a.

C-

The Additionai Condition, Coinsurance,
does not apply to Covered Property to
which this Optional Coverage applies
We will pay no more for loss of or
damage to that property than the
proportion that the Limit of insurance
under this Coverage Part for the property
bears to the Agreed Value shown for it in
the Declarations

if the expiration date for this Optlonal
Coverage shown in the Declarations is
not extended, the Additional Condition,
Coinsurance, is reinstated and this
Optionai Coverage expires._

The terms of this Optional Coverage
apply only to loss or damage that occurs:

(1) On or after the effective date of this
Optionai Coverage; and

(2) Before the Agreed Value expiration
date shown in the Declarations or the
policy expiration date, whichever
occurs first

2“ inflation Guard

a.

The Limit of insurance for property to
which this Optional Coverage applied will
automatically increase by the annual
percentage shown in the Declarations

The amount of increase will be:

(1) 'l‘he Limit of insurance that applied
on the most recent oi the policy
inception date, the policy anniversary
date, or any other policy change
amending the Limit of insurance
times

(2) The percentage ot annual increase
shown in the Declarations,
expressed as a decirnai {example:
B% is .08), times

(3) The number of days since the
beginning of the current policy year

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or the effective date of the most
recent policy change amending the
Limit of lnsurance, divided by 365.

Example:
il:
The applicable Limit

of insurance is $100,000
The annual percent-
age increase is 8%
The number of days
since the beginning

of the policy year (or
last policy change)
is l 46

The amount of increase is

$100,000 X ..08 X 146 § 365 = $3,200 l

3. Replacement Cost

notify us of your intent to do so within
180 days alter the loss or damage

d. We will not pay on a replacement cost
basis for any loss or damage:

(1) Until the lost or damaged property is
actually repaired or replaced; and

(2) Unless the repairs or replacement
are made as soon as reasonably
possible alter the loss or damage

e. We will not pay more for loss or damage
on a replacement cost basis than the
least of (l ), (2) or (3), subject to ii below:

(1) The Limit ot insurance applicable to
the lost or damaged property;

(2) The cost to replace, on the same
premises, the lost or damaged
property with other property“.

(a) Of comparable material and

a. Fleplacement Cost (without deduction for ,
depreciation replaces Acmai cash vaiue QHa"fvi and
in the Loss Condition, Vaiuation, of this (b) Used for the same purpose; or
Coveragef°rm- (3) The amount you actually spend that
bi This Gptional Coverage does not apply is necessary to repair or replace the
to: lost or damaged property
(1) Personal property of others; fq The cost of repair or replacement does
(2) Contems Ofa residence; not_ include the increased cost
. _ attributable to enforcement of any
(3) Ma"u$°"pts’ ordinance or law regulating the
(4) WO¥kS Ol aff. antiqU€S Of rare construction use or repair of any
articles, including etchings, pictures, pro;;.¢=,r[yf4
statuary, marbles, bronzes, H DEF|NIT]ONS
porcelains and bric-a-brac; or ` , _
.. .. . . ,. . 1. "Poilutant" means any solid, llquid, gaseous
(5) St(.)°k'. umess t.he mcmdmg .Stock` or thermal irritant or contaminant, including
option is shown in the Declarations Smoke' Vaporl Soot‘ fumes' acids, aikansl
C- YOU mall make 3 dalm for 'OSS OV chemicals and waste Waste includes
damage Covered by this insurance O“ an materials to be recycled, reconditioned or
actual cash value basis instead of on a reclaimed
replacement Cost basis m the event you 2. “Stocl<" means merchandise held in storage
elect t°a;‘ave loss m dani‘age Semed °.H or for saie, raw materials and in'process or
an actu C.ash Vame has S' you may gm finished goods, including supplies used in
make a claim for the additional coverage their ackin m gm ing
this Optionai Coverage provides ii you p g pp `
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COMMERClAL PROPERTY COND|T|ONS

This Coverage Part is subject to the following

conditions the Common Policy Conditlons and

applicable Loss Conditions and Additional Conditions

in Commercial Property Coverage Forms.

A. CONCEALMENT, MiSREPRESENTATlON OR
FFlAUD

This Coverage Part is void in any case of fraud by
you as it relates to this Coverage Part at any time
lt is also void if you or any other insured, at any
time, intentionally conceal or misrepresent a
material fact concerning:

1. This Coverage Part;

2. The Covered Property;

3~ Your interest in the Covered Property; or

4. A claim under this Coverage Part,

B. coNrnoL or= PnoPEnrY Hr
Any act or neglect of any person other than you ~
beyond your direction or control will not affect
this insurance
The breach of any condition of this Coverage Part
at any one or more locations will not affect
coverage at any location where, at the time ot
loss or damage, the breach of condition does not
exist.

C. iNSURANCE UNDER TWO OR MOHE
COVERAGES
ll two or more of this policy’s coverages apply to
the same loss or damage, we will not pay more i.
than the actual amount of the loss or damage

D. LEGAL ACT|ON AGA|NST US

No one may bring a legal action against us under
this Coverage Part uniess:
1, There has been full compliance with ali of the
terms of this Coverage Pan; and
2. The action is brought within 2 years after the
date on which the direct physical loss or
damage occurred
E.. LlBERAl_lZA'l'iON
if we adopt any revision that would broaden the
coverage under this Coverage Part without addi-
tional premium within 45 days prior to or during
the policy period, the broadened coverage will
immediately apply to this Coverage Part.
F. NO BENEFlT TO BA|LEE
No person or organization, other than you, hav~
ing custody of Covered Property will benefit from
this insurance
G. OTi-lER lNSUFlANCE
1. You may have other insurance subject to the

CF 189 (7'88)

same plan, terms, conditions and provisions
as the insurance under this Coverage Part. ii
you do, we will pay our share of the covered
loss or damage Our share is the proportion
that the applicable Limit of insurance under
this Coverage Part bears to the Limits Of
insurance of ali insurance covering on the
same basis

2a ll there is other insurance covering the same
loss or damage, other than that described in
tr above, we will pay only for the amount of
covered loss or damage in excess of the
amount due from that other insurance,
whether you can collect on it or not But we
will not pay more than the applicable Limit of
insurance

POL|CY PERlOD, COVERAGE TERRITORY

Under this Coverage Part:

1. We cover loss or damage commencing:
a. During the policy period shown in the

Declarations; and

b. Withln the coverage territory

2, The coverage territory is:
a. The United States ot America (including

its territories and possessions);

b. Puerto Rico; and
c. Canada.

THANSFER OF RlGl-lTS OF RECOVERV

AGA|NS~T OTHERS TO US

if any person or organization to or for whom we
make payment under this Coverage Part has
rights to recover damages from another, those
rights are transferred to us to the extent of our
payment That person or organization must do
everything necessary to secure our rights and
must do nothing after loss to impair them. But
you may waive your rights against another party
in writing:

t. Prior to a loss to your Covered Property or

Covered l ncorne..

2. Aiter a loss to your Covered Property or Cov-
ered income only if, at time of loss, that party
is one of the following:

ar Someone insured by this insurance;
b. A business iirrn:
(1) Owned or controlled by you; or
(2) That owns or controls you; or
c. Your tenant
This will not restrict your insurance

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THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.
CP 04'50 07 88

VACANCV PEFlMlT
This endorsement modifies insurance provided under the iollowlng:
BUlLDlNG AND PERSONAL PROPERTY COVERAGE FORM
CONDOMlNlUl\/i ASSOC|AT!ON COVERAGE FORt\/i
CONDOMlNlUM COMMEFlClAL UNlT-OWNERS COVERAGE FORM

STANDARD PROPERTY POLlCY
Prem. Bidg Excegted C§€sf;§?)i`i§`gss Permit Period
No.i No~ Vandalism Sprinkler i.eakage From To
ALL vALL 09/27/2005 09/27/2006

A. The VACANCY Loss Condition does not apply to direct physical loss or damage:
1.. At the iocations; and
2. During the Permlt Period;
shown in the Schedule or in the Declaration.

B. This Vacancy Permit does not apply to the Excepted Causes ot Loss indicated in the Declarations or by an "X" in
the Schedule

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CP 04 50 07 88 Copyright, lSO Commercial Risk Services, lnc ., 1983. 1987 Page 1 of t

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1.
2.
3.

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CAUSES OF LOSS - BASlC FORM

A. COVERED CAUSES OF LOSS

When Basic is shown in the Declarations
Covered Causes of Loss means the following:

Fire
nghtning.

Exploslon, including the explosion of gases
or fuel within the furnace of any fired vessel or
within the fines or passages through which
the gases oi combustion pass This cause of
loss does not include loss or damage by:

a. Fiupture, bursting or operation oi
pressure relief devices; or

b. Fiupture or bursting due to expansion or
swelling of the contents of any building or
structure caused by or resulting from
waterq

Windstorm or Hail, but not including:
a.. Frost or cold weather;

bo ice (other than hail), snow or sleet
whether driven by wind or not; or

c. Loss or damage to the interior ot any
building or structure or the property
inside the building or structure caused
by rain, snow, sand or dust, whether
driven by wind or not, unless the building
or structure first sustains wind or hall
damage to its roof or walls through which
the rain, snow, sand ordust enters

Smoke causing sudden and accidental loss
or damage This cause oi loss does not
include smoke from agricultural smudging or
industrial operations

Alrcraft or Vehicles, meaning only physical
contact of an aircrait, a spacecraft. a
self-propelled missile, a vehicle or an object
thrown up by a vehicle with the described
property or with the building or structure
containing the described property This
cause of loss includes loss or damage by
objects falling from aircraft

We will not pay for loss or damage caused by

or resulting from vehicles you own or which

are operated in the course ot your business

Riot or Clvii Cornmotlon, including:

a. Acts of striking employees while
occupying the described premises; and

b. Looting occurring at the time and place
of a riot or civil commotion

Vandalism, meaning willful and malicious

damage to, or destruction of, the described

property

We will not pay ior loss or damage:

a. To glass (other than glass building
blocks) that is part oi a building structure

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or an outside sign; but we will pay for
loss or damage to other property caused
by or resulting from breakage of glass by
vandals.

b. Caused by or resulting from theit, except
for building damage caused by the
breaking in or exiting of burglars

Sprlnkler Leakage, meaning leakage or
discharge of any substance from an
Automatlc Sprlnkler System, including
collapse of a tank that is part of the system

if the building or structure containing the

Automatic Sprinkler System ls Covered

Property, we will also pay the cost to:

a. Fiepair or replace damaged parts of the
Automatic Sprinkler System ll the
damage:

(l) Results in sprinkler leakage; or
(2) is directly caused by freezing

b. lear out and replace any part of the
building or structure to repair damage to
the Automatic Sprlnl<ler System that has
resulted in sprinkler leakage

Automatic Sprinl<ler System means:

(1) Any automatic fire protective or
extinguishing system, including
connected:

(a) Sprinklers and discharge nozzles;

(b) Ducts, pipes, valves and iittings;

(c) Tanl<s, their component parts and
supports; and

(d) Pumps and private fire protection
mains.

(2) When supplied irorn an automatic fire
protective system:

(a) Non»automatic fire
systems; and
(b) Hydrants, standpipes and outlets

Sinkhole Collapse, meaning loss or damage
caused by the sudden sinking or collapse of
land into underground empty spaces created
by the action of water on limestone or
dolomite This cause of loss does not lnclude:
an The cost ot filling sinkho|es; or

b.. Sinl<ing or collapse of land into
man-made underground cavities.

Volcanic Actiori, meaning direct loss or

damage resulting from the eruption oi a

volcano when the loss or damage is caused

by:

a, Airborne volcanic blast or airborne shock
waves;

b_ Ash. dust or particulate matter; or

protective

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c.. Lava flow

All volcanic eruptions that occur within any
168-hour period will constitute a single
occurrence

This cause of loss does not include the cost
to remove ash, dust or particulate matter that
does not cause direct physical loss or
damage to the described property

B, EXCLUSlONS

t, We will not pay for loss or damage caused
directly or indirectly by any of the following
Such loss or damage is excluded regardless
of any other cause or event that contributes
concurrently or in any sequence to the loss.

a. Ordlnance or Law

The enforcement of any ordinance or

law;

(1) Regulating the construction, use or
repair of any property; or

(2) Reguiring the tearing down of any
property, including the cost of
removing its debris

This exclusion, Ordinance or Law.
applies whether the loss results from:

(1) An ordinance or law that is enforced
even if the property has not been
damaged;or

(2) The increased costs incurred to
comply with an ordinance or law in
the course of construction repair,
renovation, remodeling or demolition
of property, or removal of its debris,
following a physical loss to that
property

b. Earth Movernent

(1) Any earth movement (other than
sinkhole coilapse), such as an
earthquake, landslide, mine
subsidence or earth sinking, rising or
shifting But ii earth movement
results in fire or explosion, we will
pay for the loss or damage caused
by that fire or explosion

(2) Volcanic eruption, explosion or
elfusion. But if volcanic eruption,
explosion or effusion results in fire or
Volcanic Action, we will pay for the
loss or damage caused by that fire or
Volcanic Action.

c. Governmental Action

Seizure or destruction of property by
order of governmental authority

But we will pay for loss or damage
caused by or resulting from acts of
destruction ordered by governmental
authority and taken at the time of a fire to
prevent its spread. il the fire would be
covered under this Coverage Part.

d.. Nuclear Hazard

Nuclear reaction or radiation, or
radioactive contamination however
caused

But if nuclear reaction or radiation, or
radioactive contamination results in fire,
we will pay for the loss or damage
caused by that fire

Utility Servlces

The failure of power or other utility
service supplied to the described
premises however caused, ii the failure
occurs away from the described
premises

But if the failure of power or other utility
service results in a Covered Cause of
Loss, we will pay for the loss or damage
caused by that Covered Cause of Loss

This exclusion does not apply to the
Business lncome coverage or to Extra
Expense coverage lnstead. the Special
Exclusion in paragraph B.3.a.(l) applies
to these coverages

War and Ml|itary Action

(1) War, including undeclared or civil
war;

(2) Warlike action by a military force,
including action in hindering or
defending against an actual or
expected attack, by any government,
sovereign or other authority using
military personnel or other agents; or

(3) lnsurrection, rebellion, revolution,
usurped power, or action taken by
governmental authority in hindering
or defending against any of these

Water

(1) Flood, surface water, waves, tides,
tidal waves, overflow of any body of
water, or their spray, all whether
driven by wind or not;

(2) Mudslide or mudflow;

(3) Water that backs up or overflows
from a sewer, drain or sump; or

(4) Water under the ground surface
pressing on, or flowing or seeplng
through:

(a) Foundations, walis, floors or

paved surfaces;

(b) Basements, whether paved or
not; or

(c) Doors, windows or other
openings

But if water. as described in g.(l)
through (4) above, results in fire,
explosion or sprinkler leakage, we will
pay for the loss or damage caused by
that fire, explosion or sprinkler leakage

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2. We will not pay for loss or damage caused by
or resulting from:

a.

Artiiicia|ly generated electrical current,
including electric arcing, that disturbs
electrical devices appliances or wires

But ii artificially generated electrical
current results in fire, we will pay for the
loss or damage caused by that fire

Rupture or bursting of water pipes (other
than Automatic Sprinkler Systems)
unless caused by a Covered Cause of
Loss

Leakage or discharge of water or steam
from any part of a system or appliance
containing water or steam (other than an
Automatic Sprinkler System), unless the
leakage or discharge occurs because the
system or appliance was damaged by a
Covered Cause of Loss.

Explosion of steam boilers, steam pipes,
steam engines or steam turbines owned
or leased by you, or operated under your
control

But if explosion of steam boilers, steam
pipes, steam engines or steam turbines
results in fire or combustion explosion,
we will pay for the loss or damage
caused by that fire or combustion
explosion

Mechanical breakdown, including
rupture or bursting caused by centrifugal
force.

But if mechanical breakdown results in a
Covered Cause of Loss, we Will pay for
the loss or damage caused by that
Covered Cause of Loss.

3. Speclal Excluslons

The following provisions apply only to the
specified Coverage Forms.

3.

Business income (And Extra Expense)
Coverage Form, Buslness income
(Without Extra Expense) Coverage
Form or Extra Expense Coverage Form

We will not pay for:

(1) Any loss caused directly or indirectly
by the failure of power or other utility
service supplied to the described
premisesl however caused. if the
failure occurs outside of a covered
building
But if the failure of power or other
utility service results in a Covered
Cause of Loss, we will pay for the
loss resulting from that Covered
Cause of Loss

(2) Any loss caused by or resulting from:

(a) Damage or destruction of
"finished stocl<."

b.

C_

(b) the time required to reproduce
"iinished stock."

This exclusion does not apply to Extra
Expense.

(3) Any loss caused by or resulting from
direct physical loss or damage to
radio or television antennas
(inciuding satellite dishes) and their
lead-in wiring, masts or towers

(4) Any increase of loss caused by or
resulting irom:

(a) Delay in rebuilding, repairing or
replacing the property or
resuming "operations," due to
interference at the location of the
rebuilding, repair or replacement
by strikers or other persons; or

(b) Suspenslon, lapse or
cancellation of any license, lease
or contract But ii the
suspension, lapse or
cancellation is directly caused by
the suspension of "operations,"
we will cover such loss that
affects your Business income
during the "period of restoration "

(5) Any Extra Expense caused by or
resulting from suspension, lapse or
cancellation of any license, lease or
contract beyond the "period of
restoration."

(6) Any other consequential loss

Leasehold interest Coverage Form

(1) Paragraph B.1.a,, Ordinance or Law,
does not apply to insurance under
this Coverage Form._

(2) We will not pay for any loss caused
by:

(a) Your cancelling the lease;

(b) The suspensionl lapse or
cancellation of any license; or

(c) Any other consequential loss
i.egal Llabillty Coverage Form

(1) The following Exclusions do not
apply to insurance under this
Coverage Form:

(a) Paragraph B.1.a., Ordinance or

(b) Paragraph B..l.c., Governrnentai
Action;

(c) Paragraph
Hazard;

(d) Paragraph B.1tet, Utility Servlce;
and

(e) Paragraph B.l.ft, War and
Nlilitary Action.

(2) The following additional exclusions

B.1.d., Nuclear

 

CF 500 (&95)

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apply to insurance under this
Coverage Form:

was executed prior to the
accident and

Page 4 of 4

a) Contractual Llabllity

We will not defend any claim or
"suit," or pay damages that you
are legally liable to pay, solely by
reason ct your assumption of
liability in a contract or
agreement But this exclusion
does not apply to a written lease
agreement in which you have
assumed liability for building
damage resulting from an actual
or attempted burglary or
robbery, provided that:

(i) Your assumption of liability

(ii) The building is Covered
Property under this
Coverage Form.

(b) Nuclear l-lazard

C. LlMlTATiON

We will not defend any claim or
"suit," or pay any damages, loss,
expense or obligation resulting
from nuclear reaction or
radiation, or radioactive
contamination however caused

We will pay for loss ot animals only it they are
killed or their destruction ls made necessary

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THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.
CP 10 56 06 95

SPR|NKLER LEAKAGE EXCL.US|ON

This endorsement modifies insurance provided under the iollowing:

CAUSES OF LOSS - B'AS|C FORM
CAUSES OF LOSS - BFlOAD FORM
CAUSES OF LOSS ' SFEClAL FORM

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated

 

 

below.

Endorsernent effective Policy No.

September 27 , 2005 12:01 AM. standard time ' VBOOOO408
Named insured Countersigned by

Pali - Palm Sprinqs, LLC

 

 

 

 

An

The following is added to the EXCLUSlONS
section and is therefore not a Covered Cause ot
Loss:

SPR|NKLER LEAKAGE

Sprlnkler Leakage, meaning leakage or discharge
of any substance from an Automatic Sprinkler
System, including collapse of a tank that is part of
the system

But it Sprini<ler Leal<age results in a Covered
Cause of Loss, we will pay for the loss or damage
caused by that Covered Cause of Loss.

Under EXCLUSlON ‘l.g., Water, the last
paragraph is replaced by the following:

But il water, as described in g.(t) through (4),
results in tire or explosion, we will pay for the loss
or damage caused by that fire or explosion

EXCLUSlONS 2-b- and 2.c. in the Causes of
Loss - Basic Forrn are replaced by the iollowing:

We will not pay ior loss or damage caused by or
resulting irorn:

b.. Rupture or bursting of water pipes unless
caused by a Covered Cause of Loss.

c. Leal<age or discharge of water or steam from
any part of a system or appliance containing
water or steam, unless the leakage or
discharge occurs because the system or
appliance was damaged by a Covered Cause
of Loss

Under ADDlTiONAL COVEHAGE - COLLAPSE, in

the Causes of Loss s Broad Form, leakage from

tire extinguishing equipment is deleted from

paragraph 1.a.(t)~

CF 535 (&95)

cPiossosss _

(Authorized Represer\tative)

E. EXCLUSION 2.gt, in the Causes of Loss ~ Speciai
Form, is replaced by the following:

We will not pay for loss or damage caused by or
resulting from water, other liquids, powder or
molten material that leaks or flows from
plumbing, heating. air conditioning or other
equipment caused by or resulting from ireezing,
unless:

(1) You do your best to maintain heat in the
building or structure; or

(2) You drain the equipment and shut off the
supply if the heat is not maintained

F. Under l.iMlTATlONS in the Causes of Loss -
Speclal Form, item 5. is replaced by the following:

5- We will not pay the cost to repair any defect
to a system or appliance from which water,
other liquid, powder or molten material
escapes But we will pay the cost to repair or
replace damaged parts oi fire extinguishing
equipment if:

a. The damage is directly caused by
lreezing; and

b. You do your best to maintain heat in the
building or structure, or you drain the
equipment and shut off the supply if the
heat is not maintained

However, this limitation does not apply to
Business lncome coverage or to Extra
Expense coverage
G. in the Causes of Loss - Special Form, leakage
from fire extinguishing equipment is deleted from
the "speciiied causes ot loss.."

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(l'he attaching clause need be completed only When this endorsement is issued subsequent to preparation ol the policyl)

'i'his endorsement, effective on September 27, 2005at 12:01 A.lVl" standard time, forms a part of
Policy No.: VBOOOO408
issued To: Pali - Palm Springs, LLC

By: UNlTED NATlONAL lNSURANCE COi\/iPAl\iY

THIS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY-

iNDOOFl AIFi QUALlTY EXCLUS|ON

This endorsement modifies insurance provided under the following:

CAUSES OF LOSS - BAS|C FORM
CAUSES OF LOSS - BROAD FDRM
CAUSES OF LOSS - SPEClAL FORM
STANDARD FROPERTY POLlCY

The following is added to the EXCLUS|ONS section and is therefore not a Covered
Cause of Loss:

lNDOOR AlR QUAL|TV

We will not pay for loss or damage:

'l. Caused directly or indirectly by mold, mildew and/or other conditions affecting
indoor air quality, regardless or any other cause or event that contributes

concurrently or in any sequence to the loss or damage; or

2. The cost of abatement, mitigation, removal or disposal of mold, mildevv and/or
other conditions affecting indoor air quality.

This exclusion also inciudes:

a. Any supervision, instructions, recommendations, warnings or advice
given or Which should have been given in connection With the above; and

b. Any obligation to share damages with or repay someone else Who must
pay damages because of such injury or damage.

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. Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 38 of 62 Page |D #:38

lThe attaching clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

This endorsement, effective on September 27, 2005 at 12:01 A.lVl. standard time, forms a part of

Policy NO'= veoooo4oa
issued To: Pali - Palm Springs, LLC

By: UN|TED NATIONAL lNSURANCE COl\/|PANY

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

SECURED VACANT BUlLDlNG FlEQUlRElVlENT
This endorsement modifies insurance provided under the following‘.
BU|LDING AND PERSONAL PROPERTY COVERAGE FORN\
i. As a condition of this insurance, at all times during this policy period, you are
required to have ali doors and Windows locked and intact and/or boarded up and

fully secured and protected from unauthorized entry.

2. This insurance Will be automatically suspended at any premises Where you do
not comply With this requirement

EPB‘]OZ (4/2005) Page l Of l

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(The attaching clause need be completed only when this endorsement is issued subsequent to preparation of the policy.l
This endorsement, effective on September 27, 2005 at 12:01 A.lVi. standard time, forms a part of

Policy No.: VBOOOO408
issued To: Pali - Palm Springs, l.LC
By: UNlTED NATIONAL lNSURANCE COMPANY

TH|S ENDORSEMENT CHANGES THE POLlC\'- PLEASE FlEAD lT CAFlEFULLY.

VACANCY REQU|REMENT
This endorsement modifies insurance provided under the following:
BUli_Dll\iG AND PERSONAL PROPERTY COVERAGE FORl\/l

i. The Vacancy Loss Condition does not apply to direct physical loss or damage at
the premises described in the Declarations

2. As a condition of this insurance, the designated premises must remain vacant during
the policy period. A building is not vacant when any portion of it is used for any
activity whatsoever except showing it to prospective buyers or renters for the
purpose of selling or leasing it.

3. We Will not pay for loss or damage at any designated premises that is not vacant
when the loss or damage occurs.

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iThe attaching ciause need be completed only when this endorsement is issued subsequent to preparation of the poiicy'.l
This endorsement, effective on September 27, 2005 at 12:01 A.Nl. standard time, forms a part of

Policy No.: VBOOOO408

|ssued To: Paii - Paim Springs, LLC

By: uNiTED NATioNAL iNSURANcE coi\/iPANY
THIS ENDORSEMENT CHANGES THE POL|CY. FLEASE READ lT CAREFULLY.
PROTECT|VE SAFEGUARDS

This endorsement modifies insurance provided under the foliowing:

COi\/IMERCiAL PROPERTY COVERAGE PART

SCHEDULE*
Premises Building Protective Safeguards
No. No. Symbols Applicable
ALL ALL P ~ 9

Describe any “P-9":

All electrical wiring ls on circuit breakers

Building is fully locked to prevent unauthorized entry
insured premises is fenced & locked

A. The following provision is added:
PROTECTIVE SAFEGUARDS

'1. As a condition of this insurance, you are required to maintain the protective
devices or services listed in the Scheduie above.

2. The protective safeguard(s) to which this endorsement applies are identified by the
following symbols:

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"P~i " Automatic Sprinl<ler System, including related supervisory services.
Automatic Sprinkier Systern means:
a. Any automatic tire protective or extinguishing system, including connected:
ill Sprinlders and discharge nozzles;
(2) Ducts, pipes, values and iittings;
(3) Tanl<s, their components parts and supports; and
(4) Pumps and private tire protection mains.
b. When supplied from an automatic fire protective system:
ill Non-automatic fire protective systems; and
(2) Hydrants, standpipes and outlets.
"P-2" Automatic Fire Aiarm, protecting the entire building, that is:
at Connected to a central station; or
b. Reporting to a public or private fire alarm station.
"P-B" Security Service, with a recording system or Watch clock, making hourly
rounds covering the entire building, When the premises are not in actual
operation.

"P»4" Service Contract with a privately owned fire department providing fire
protection service to the described premises

"P-Q" The protective system described in the Schedule.
B. The following is added to the EXCLUSlONS seciton of:

CAUSES OF LOSS - BASlC FORi\/l
CAUSES OF LOSS - SPEClAL FORM
CAUSES OF LOSS - BROAD FOFii\/i

We Will not pay for loss or damage caused by or resulting from fire if, prior to the iire,
you;

i.i<new of any suspension or impairment in any protective safeguard listed in the
Schedule above and failed to notify us of that fact; or

EPB-i 27 (1/2005) Page 2 of 3

det/146

 

_ Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 42 of 62 Page |D #:42

2. Failed to maintain any protective safeguard listed in the Schedule above, and
over Which you had control, in complete working order.

it part of an Automatic Sprinl<ier System.is shut off due to breakage, leakage,
freezing conditions or opening of sprinkler heads, notification to us Will not be
necessary if you can restore full protection Within 48 hours.

EPB~127 li/ZOOE) Page 3 of 3

(?)ol/L /lr- - 35

Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 43 of 62 Page |D #:43

(T he attachan clause need be completed only when this endorsement ls issued subsequent to preparation ot the policy )

This endorsement, effective on September 27, 2005at 12:01 A.M. standard time, forms a part of
Policy No.: \/BOOOO408
lssued To: Pali v Palm Springs, LLC

By: UNlTED NATlONAL lNSUFlANCE COMPANY

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

TERROR|SM EXCLUSlON

This endorsement modifies insurance provided under the iollowing:

ALL PARTS OF THE POLICY

l\lotwithstanding any other provision of this policy to the contrary, this insurance does
not apply to any loss, cost, expense, damage, injury or economic detriment, whether
arising by contract, operation of law or otherwise whether or not concurrent or in any
sequence with any other cause or event, that in any way, form or manner, directly or
indirectly, arises out of, results from or is caused by "terrorism", and also including any
action taken in hindering or defending against "terrorism".

"Terrorism" means any act of force or violence or other illegal means, Whether actual,
alleged or threatened, by any person, persons, group, private or governmental entity or
entities, or any other type of organization of any nature whatsoever, whether the identity
of which is known or unknown, that appears to be for political, religious, racial, ethnic,
ideological, ecological or social purposes, objectives or motives and that causes or
appears to be intended to cause:

l. alarm. fright, fear of danger, concern or apprehensions for public safety;

2. the interference or disruption of an electronic, communication, information or
mechanical system;

3. the intimidation or coercion of the civilian population, or any governmental body;
or

4. the alteration of the policies, foreign or domestic of any governmental body,

This exclusion does not affect the applicability of, and is in addition to, any exclusion of
war, warlil<e or military action. whether or not specifically denominated as such.

EAA~l46 (12/2001) Page l of l

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_ Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 44 of 62 Page |D #:44

lThe attaching clause need be completed only when this endorsement is issued subsequent to preparation of the policy.l
This endorsement, effective September 27, 2005 at 12:01 A.lVl. standard time, forms a part of
Policy No.: VBOOOO408

issued To: Pali - Palm Springs, LLC

BV! UNiTED NATlONAL lNSURANCE COi\/lPAl\iY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE HEAD lT CAREFULLY.

El-ECTRONlC DATA AND CVBER FilSK EXCLUS|ON

We will not pay for loss or damage, directly or indirectly arising out oi, caused by,
contributed to by or resulting from any:

i. Functioning, noniunctioning, misiunctioning, availability or nonavailability of:
a. the internat or similar facility; or
b. any intranet or private network or similar iacility; or

c. any website, bulletin board, chat room, search engine, protal or similar third
party application service.

2. Alteration, corruption, destruction, distortion, erasure, theft or other loss of or
damage to data, sottware, information repository, microchip. integrated system or
similar device in any computer equipment or non-computer equipment or any
kind of programming or instruction set;

3. l_oss of use or iunctionality, Whether partial or entire, of data, coding, program,
software, any computer or computer system or other device dependent upon any
microchip or embedded logic and any ensuing inability or failure of the insured to
conduct business;

Unless such loss or damage:
a. arises out of physical damage occurring at the insured's premises; and

b. results from a covered cause of loss under the policy.

This exclusion supplements any exclusion elsewhere in the policy.

EPA-44O ii 1/2003} Page l of l

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_ Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 45 of 62 Page |D #:45

lThe attaching clause need be completed only when this endorsement is issued subsequent to preparation of the policy,l

This endorsement, effective on September 27. 2005 at 12:01 A.M. standard time, forms a part of

Policy NO-= veoooo4oa
issued To: Pali - Palm Springs, LLC

By: UN|TED NAT|ONAL INSURANCE CONIPANY

THiS ENDORSEMENT CHANGES THE POL|CY, PLEASE READ |T CAREFULLY.

ADDlTlONAL POL|CY COND|T|ON
This endorsement modifies insurance provided under the following:
ALL COVERAGE PARTS OF THE POl_lCY

All claims for loss or damage from theft insured by this policy must be reported to the
local police within twenty'four (24) hours of the discovery of a theft and a formal report
filed within seventy-two l72) hours of the discovery.

EPB~iOi (6/2004) Page l of l

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' Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 46 of 62 Page |D #:46

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAFiEFULLV.
lL 00 03 11 85

CALCULAT|ON OF PREMlUM

This endorsement modifies insurance provided under the iollowing:
BOiLER AND MACHINERY COVERAGE PART
BUSlNESS AUT 0 COVERAGE
COMMEHC|AL CRlME COVERAGE PART
COMMERClAL GENERAL LlABlLlTY COVERAGE PART
COMMERClAL lNLAND MARlNi-Z COVERAGE PAHT
COMMEHC|AL PROPERTY COVERAGE PART
FARM COVERAGE PART

The following is added:
The premium shown in the Declarations Was computed based on rates in effect at the time the policy was'lssued.. On
each renewal, continuation or anniversary of the effective date of this policy, We will compute the premium in
accordance with our rates and rules then in effect

GU 265 (11-85) Copyright, insurance Services Oiilce, inc , 1983
il_ 00 03 11 85 Copyright. iSO Commerclal P.lsk Services, lnc., 1983 Page 1 of t

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1L001711 as
COMMON POL|CY CONDlTlONS

All Coverage Parts included ln this policy are subject during the policy period and up to three years
to the following conditions afterward

A.,. CANCELLATlON D. lNSPECTlONS AND SURVEVS

1. The first Named insured shown in the Dec~
larations may cancel this policy by mailing or
delivering to us advance written notice of
cancellation

2. We may cancel this policy by mailing or
delivering to the first Named Insured written
notice of cancellation at least:

a.. 10 days before the effective date of
cancellation if we cancel for nonpayment
of premium; or

b. 30 days before the effective date of
cancellation if we cancel for any other
reason.

3w We will mail or deliver our notice to the nrst
Named lnsured's last maning address known
to us

4. Notice of cancellation will state the effective
date of cancellation The policy period Will
end on that date

5. if this policy is cancelled we will send the first
Named insured any premium refund due li
we cancel, the refund will be pro rata if the
nrst Named insured cancels, the refund may
be less than pro rata The cancellation will be
effective even if we have not made or offered
a refund

6. if notice is mailed, proof of mailing will be
sufficient proof of notice

. CHANGES

This policy contains all the agreements between
you and us concerning the insurance afforded
the first Named insured shown in the Dec~
larations is authorized to make changes in the
terms of this policy with our consent This policy's
terms can be amended or waived only by
endorsement issued by us and made a part of
this policy

, EXAMlNATlON OF YOUR BOOKS AND

RECORDS

We may examine and audit your books and
records as they relate to this policy at any time

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ii_oo1711 as

We have the right but are not obligated to:
1. l`vlake inspections and surveys at any time;

2. Give you reports on the conditions we iind;
and

3. l’-iecommend changes

Any inspections surveys, reports or recom~
mandations relate only to insurability and the
premiums to be charged We do not make safety
inspections We do not undertake to perform the
duty of any person or organization to provide for
the health or safety of Workers or the public. And
we do not warrant that conditions:

1. Are safe or healthful; or

2. Compiy with iaws, regulations codes or
standards

This condition applies not only to us, but also to

any rating, advisory, rate service or similar

organization Which makes insurance inspectionsl

surveys, reports or recommendations

. PREMlUNlS

The first Named insured shown in the Dec~
larations:

1. is responsible for the payment of all
premiums; and

2. Will be the payee for any return premiums we
Pal'-

. THANSFER OF YOUR RlGHTS AND DUTlES

UNDER THlS POLICY

flour rights and duties under this policy may not
be transferred without our written consent except
in the cause of death of an individual Named
insured

if you die, your rights and duties wm be
transferred to your legal representative but only
while acting within the scope of duties as your
legal representative Until your legal rep-
resentative is appointed anyone having proper
temporary custody of your property will have
your rights and duties but only with respect to
that property

Copyrlght. insurance Services Office, inc . 1982, 1983 Page t of t

&MA-m

t Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 48 of 62 Page |D #:48

(The attaching clause need be completed only when this endorsement is issued subsequent to preparation of the pciicy.)

This endorsement, effective Septemberz?, 2005 at 12:01 a.m. standard time, forms a part of

Policy #: vBoooo4oe
issued tOZ Pali - Palm Springs, Ll_C
By; UNiTED NAT|ONAL INSURANCE COMPANY

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY

MlNIMUM EAFiNED PREM|UM ENDORSEMENT

This endorsement modifies insurance provided under the foilowing:
ALL COVERAGE PARTS iNCLUDED ii\i THlS POUCY

This policy is subject to a minimum earned premium

lt this policy is canceled at your request, you agree with us:

1. that the minimum earned premium for this policy is the greater of
or 25% of the Totai Pre_mrum; ‘ _
2. tha§ such minimum earned premium is not subject to short rate or pro-rate adjustment
an
3. that cancellation for non»payment of premiumz after the effective date of the poiicy, Will

be deemed a request by you for cancellation of this policy and will activate this
minimum earned premium provision

 

Countersignature

sc-l (2/98)

M/l- tie

l Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 49 of 62 Page |D #:49

(f he attaching clause need be completed only when this endorsement is issued subsequent to preparation of the poiicy.)

This endorsement, effective September27, 2005 at 12101 a.m. standard time, forms a part of
Policy #: z v800004oe

issued tOI Pali - Palm Sprlngs, LLC

By: uNrrEo NATioNAL iNSuRANcE COMPANY

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE FiEAD lT CAREFULLY

SERVlCE OF SLllT CLAUSE
CALlFORNlA

This endorsement modines insurance provided under the following:
ALL COVERAGE PAHTS iN THlS POL|CY

We hereby appoint Jere Keprios, c/o C.T. Corporation System, 818 West 7th Street, Los
Angeles, California, 90017, as our true and lawful attorney in and for the State of California,
upon whom ali lawful process may be served in any action, “suit"or proceeding instituted in
California by or on behalf of any insured or beneficiary against us arising out cf this insurance
policy, provided a copy of any process, "suit", complaint or summons is sent by codified or
registered mail to United National insurance Company ,Three Ba|a Piaza
East, Suite 300, Bala Cynwyd, PA 'i9004.

 

Countersignature

SC~7 (2 /98)

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Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 50 of 62 Page |D #:50

in Witness Ciause

in Witness Whereof, we have caused this policy to be executed and attested, and, if
required by state iaw, this policy shall not be valid unless countersigned by our
authorized representative

Secretary President

 

EAA-ioo (5/2004)

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CO|VliVlERC|AL |NSURANCE POL|CY

 

 

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m national
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ADlVllNlSTRATl\/E OFFlCES

THREE BALA PLAZA EAST, BALA CYNWYD, PA `19004
610~664»1500

.iPA~too (7-98) nev. 7-014)1

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Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 52 of 62 Page |D #:52

Policy Change No. 02
EN DO RS EiVl EN T
This endorsement, effective september 27, 2006 at12:01 a.m. standard»time, forms a part of
Folicy# : vBoooo4oe ~
issued to : Pali - Palm Sprlngs, LLC
By: uNl'rEo NATloNAL \NSURANCE coMPANY

POL|(;/YCHANGE ENDORSEMENT

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

in consideration of an Additional Prernium of $3,162.00, it is hereby understood and agreed
,¢_that-t_his,_pp.l_i$;yj§ extended to.exp'ire on 12/ 30/ 2006. z

/,@,l"@)
9 O(>/_

ALL OTHER TERMS AND COND|T|ONS REMAlN THE SAl\/iEf

 

Countersignature

SC-16(2/98)

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Case 2:08-cv-01231-GHK-.]W.J Document 1 Filed 02/22/08 Page 53 of 62 Page |D #:53

IJNITED NATIONAL INSURANCE COMPANY

Mbl CYNWYD. PEMVSYZ-l’/lNL/l

Policy Number:

Named Insured:

Mailing Address:
Si.'rcet:

City:
State & Zip Code:

Renewal Period:

Producel' Name:
Addr'ess:

Producel' Number:

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___,._.~¢____~
______-»__.._--
,_.._____._.__

RENEWAL CERT|F|CATE

VBOOOO408A

Pali ~ Palm Sprinqs, LLC

Archelle Holdings Inc.
1416 Second Street

Sanata Monica
CA 90401

me: December 30, 2006 fm May 30,

at 12:01 A M Strmdard 'l`imc attire mailing address shown above

Tri City Brokerage Inc.

50 California Street

Suite 2000

San Francisco CA94111
01223

\/ALUA BLE ~ /-\ TTA CH TO YOUR POL/CY

2007

nadonal'
group

 

]N CONSIDERA`IION OF THE PAYMENI` OF `IHE PREMIUM SHOWN BELOW, THE COVERAGE INDICATED IS

RENEWED AND SUBIECT TO ALL THE TERMS AND CONDITIONS OF THE PREVIOUS POLICY INCLUDING FORMS
AND EN`DOR.SEMENTS, UNLESS OTHERWISE SPECH*'IED CHANGES IF ANY:

 

 

THlS PREMIUM MAY BE SUBJ'ECT TO ADIUSTM.ENT

 

 

01/ 07/ 07
EPA-l 00 (8-98)

PREMIUM
Commcrcial Property Coverage Part $ 5 , 1 00 . 00
ToTAL $5,100.00
By:

 

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Countersignature

 

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Excel Bonds & Ins. Serv., Inc.
License #0B53997

P.o. cox 255623

Sacramento, CA 95865

Prwne: 916-971-8844 Fax : 916.971-8340

Pali-Palm Springs LLC

212 Marine Street, Suite 100
Santa Monica, CA 90405

a

05/30/07 CFE PROP

05/30/07 CFE PROP

 

05/30/07 REN PROP

 

INVO

ne

06/1 1107

 

 

 

Property Extension

Surplus Lines Tax

Stamp Fee

Invoice Balance:

 
 

  

 

 

 

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group

UNITED NATIONAL lNSURANCE COMPANY

BA.IA C}NWYD, PENNSYLVANIA

RENEWAL CERT|F|CATE
l/A LUA BLE ~ A TTA CH TO YOUF\’ POL/CY

Policy Number: Vl300004 OB-B

Namcdlnsul‘ed: Pali - Palm Springs, LLC

MailingAddl'eSS: Archelle Holdings Inc.
Street: 1416 Second Street

City: Sanata Monica
State&ZipCode: CA 90401

Rellewal Pel'iOd: From: May 30 , 200 7 1'0: l\iovember.' 30 , 200 7
at 12:01 A M Stanriard Time at the mailing address shown above

Pl'OdllCel`Namc: Tri City Brokeraqe Inc.
Address:
50 California Street
Suite 2000
San Francisco CA 94111
ProducerNuml)el': 01223

 

 

IN CONSIDER_ATION OF THE PAYMENT OF THE PREMIUM SHOW`N BELOW, THE COVERAGE INDICATED IS
RENEWED AND SUBIECT TO ALL THE IERMS AND CONDITIONS OF THE PREVIOUS POLICY INCLUDING FORMS
AND ENDORSEMENTS, UNLESS O`i'HERWISE SPECIFIED. CHANGES IF ANY:
The minimum earned premium is amended to read $ 1,454
THIS PREMTUM MAY BE SUBIECT TO ADIUS`[MENT
PREMIUM

Commercial Property Coverage Part $ 5 , 8 l 5 . 0 0

TO'I`AL 35,815.00

 

 

 

BY-

 

Countersignature

OS/ 1 8/ 07
EPA-100(8-98)

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Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 56 of 62 Page |D #:56

united
national
group

UNITED NATIONAL INSURANCE COMPANY

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REN EWAL CERT|F|CATE
l/A LUA BLE - A TTA CH TO YOUR POL/CY

Policy Number: vB00004 08-B

Namedlnsul'ed: Pali v Palm Spr;tngs, LLC

MnilingAddl'eSS: Archelle Holdings Inc.
Street: 1416 Second Si:reei:

City: Sanata Monica
State&ZipCode: CA 90401

Rertew£ll P€l'iOdI Frorn: May 30 , 2 00 7 To: l\io vember.' 30 , 2 007
at l'Z:Ol A.M Standard Time al lite mailing address shown above

ProducerName: Tri City Brokeraqe Inc.
Address:
50 California Street
Suite 2000
San Francisco CA 94111
Producer' Number: 0 1 2 2 3

 

 

IN CONSIDERATION OF THE PAYMEN'I OF THE PREMIUM SHOWN BELOW, THE COVERAGE iNDICATED lS
RENEWED AND SUBJ`ECT TO ALL THE TERMS AND CONDI`HONS OF THE PREVIOUS POLICY INCLU`DING FORMS
AND ENDORSEMEN“IS, UNLESS OTHERWISE SPECIFIED CHANGES IF ANY:
The minimum earned premium is amended to read $ 1,454
MA ’ E SUBIEC`[ 10 ADIUSTMEN`I
THIS PREMIUM l B PREMIUM
Comrnercial Property Coverage Part S 5 , 8 1 5 . 00
TOTAL $5,815.00

 

 

By:

 

Countersignnture

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EPA-100(8-98)

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EXHIBIT B

 

` Case 2:08-cv-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 58 of 62 Page |D #:58

Penn-America Group. inc. "'

fb 6 Un|tedAmerica insurance Group
Penn-America insurance Company‘"

/
... ‘
Penn-Srar insurawce Company“` TOm F. Baker

Penn~-Patrlot insurance Company mer Li"e; <610) 660'5402

tbaker unitednat.
United National Group" @ Oom

United National insurance Company`*
Oiamond State Insurance Company’°
United National Specia|ty insurance Company"
United National Casuelly insurance Compar\.y"

October 17, 2007

VIA UPS GROUND
AND U. S. FIRST CLASS MAIL

Pali _ Palm Springs, LLC
Archelle Holdings Inc.
1416 Second Slrcet
Santa Mcnica, CA 90401

Re: lnsured: Pali - Palms Springs, LLC
Policy No.: VB0000408
Claim No.: 07004828
Date of Loss: 7/19/07
Location: 261 S. Belardo Rd., Palm Springs CA 92626

Dcar lnsured:

With respect to the fire of 7/19/07, at 261 S. Belardo Rd., Palm Springs CA 92626, you arc hereby
notified that the United National Insurance Company (“United National") is investigating said
occurrence or any claim arising therefrom In investigating this loss, United National does not
waive any of its rights or admit any obligation under the policy, nor should any of the above be
construed as an estoppel of any claim or defense United National may have.

Plcase be advised that the United National reserves its rights under the insurance contract as
described in more detail below, but without limiting its rights to assert additional grounds for
Rescrvation of Rights, should those later become apparent

We are making this Reservation of Rights based orr the preliminary investigation and determination
that the above captioned tire loss has been labeled an intentionally set fire and because our

 

` investigation has revealed a prior fire loss at the above property location on 9/30/06, about which

 

you never prodeed United National with notice.

 

 

_-_.y~

Please be advised that relevant portions of your insurance contact with United National state as
follows:

 

 

Three Bala Piaza East ~ Suite 300 » Bala Cynwyd, PA 19004 o P: 610.664.1500 . F.' 610.660.8885
A member of UnitedArnerica Inriemn/ty. Ltd.

07004828-0538/2007

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` Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 59 of 62 Page |D #:59

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E. LOSS CONDITIONS

` The following conditions apply in addition to the Common Policy Conditions
and the Commercial Property Conditions.

3. Duties ln The Event Of Loss Or Damage

a. You must see that the following are done in the event of loss or
damage to Covered Property:

(l) Notify the police ifa law may have been broken.

(2) Give us prompt notice of the loss or damage, lnclude a -
description of the property involved.

(3) As soon as possible, give us a description of how, when and
where the loss or damage occurred

(4) Take all reasonable steps to protect the Covered Property from
further damage, and keep a record of your expenses necessary
to protect the Covered Property, for the consideration in the
settlement of` the claim. This will not increase the Limit of
Insurance However, we will not pay for any subsequent loss
or damage resulting from a cause of loss that is feasible, set the
damaged property aside and in the best possible order for
examination

(5) At our request, give us complete inventories of the damages
and undamaged property. lnclude quantities, cost, values and
amount of loss claimed_.

(6) As often as may be reasonably required,.permit us to inspect
the property proving the loss or damage and examine your
books and records.

Also permit us to take samples of damaged and undamaged
property for inspection, testing and analysis, and permit us to
make copies from your books and records.

(7) Send us a signed, sworn proof of loss containing the
information request to investigate the claim. You must do this
within 60 days after out request. We will supply you with the
necessary forms.

(8) Cooperate with us in the investigation or settlement ot` the
claim.

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` Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 60 of 62 Page |D #:60

Page 3

b. We may examine any insured under oath, while not in the presence of
any other insured and at such times as may be reasonably required,
about any matter relating to this insurance or the claim, including a
insured’s books and records. ln the event of an examination, an
insured’s answers must be signed. . . .

As a result of your failure to provide notice of your prior tire loss of 9/30/06, which occurred during
United National’s prior policy United National was unable to consider the fact of the prior loss in
making its decision to renew your policy.

The policy further states:

“COMMERCIAL PROPERTY CONDITlONS

This Coverage Part is subject to the following conditions,.the_£ommon_l)_alicy_,s,_,,..1.

Conditions and applicable Loss Conditions and Additional Conditions in Comrnercial
Property Coverage Forms.

A. CONCEALMENT, MISREPRESENTAT|ON OR FRAUD

This Coverage Part iwin_an_y_c§_se_gf_f;a_ud by you as it relates to this Coverage
Part at any time. It is also void if you or any other insured, at any time, intentionally
conceal or misrepresent a material fact conceming:

 

' This Coverage Part;
The Covered Property;
Your interest in the Covered Property; or
A claim under this Coverage Part.” . . .

awww

In addition to the above, the following wording found Within policy and endorsements:
D. LEGAL ACTlON AGAINST US

No one may bring legal action against us under this Coverage Part unless:

1. There has been full compliance with all of the terms ot` this Coverage Part;
and
2. The action is brought within 2 years after the date which the direct physical

loss or damage occurred. . . .

***

SECURED VACANT BUILDING REQUlREMENT

This endorsement modifies insurance provided under the following:

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` Case 2:08-cV-01231-GHK-.]W.] Document 1 Filed 02/22/08 Page 61 of 62 Page |D #:61

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07004328-0538/2007

BUILDING AND PERSONAL PROPERTY COVERAGE FORM

l. As a condition of this insurance, at all times during this policy period, you are
required to have all doors and windows locked and intact and/or boarded up
and fully secured and protected from unauthorized entry.

2. This insurance will be automatically suspended at any premises where you do
not comply with this requirement . . .

***

PROTECT!VE SAFEGUARDS
This endorsement modifies insurance provided under the following:

COMMERClAL PROPERTY COVERAGE`P]ART " f nw " " '

SCHEDULE*

Prernises No. Building No. Protective Safeguards
Symbols Applicable

ALL ALL P-9

Describe any “P-9”:

All electrical wiring is on circuit breakers

Building is fully locked to prevent unauthorized entry
lnsured premises is fenced & locked

A. The following provision is added:
PROTECTIVE SAFEGUARDS

l. As condition of this insurance, you are required to maintain the
protective devices or services listed in the Schedule above.

2, The protective safeguard(s) to which this endorsement applies are
identified by the following symbols:

“P-9” The protective system described in the Schedule.

B. The following is added to the EXCLUSIONS section of:

CAUSES OF LOSS - BASIC FORM
CAUSES OF LOSS - SPECIAL FORM
CAUSES OF LOSS - BROAD FORM

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We will not pay for loss or damage caused by or resulting from tire if, prior to the
tire, you;

l. Knew of any suspension or impairment in any protective safeguard listed in
the Schedule above and failed to notify us of that fact; or

2. Failed to maintain any protective safeguard listed in the Schedule above, and
over which you had control, in complete working order. . . .

Neither this letter nor any investigation conducted by or on behalf of United National is intended as,
nor should it be construed as, a waiver of any of the terms, conditions, limitations, provisions of`, or
defenses under your insurance policy, nor an admission or a determination of coverage unless such
is communicated to you by the undersigned

lnvestigation into the cause, origin and circumstances of the 7/19/07 tire are continuing ln the event
you have any questions, please contact Tom Baker at 610.660.5402.

Waiving none but reserving to United National all of its rights and defenses under and pursuant to
the policy of insurance upon which claim is made, we remain,

Respectfully,
UNITED NAT

    
 

L SURANCE COMPANY

Thomas F. Baker
Senior Claims Examincr

cc: Tri-City Brokerage
50 California Street

Suite 2000
San Francisco, CA 94111

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